UNITED STATES SOUTHERN DISTRICT OF NEW YGRK

 

Patrick Delices
948 Longwood Avenue
Bronx, NeW York 10459

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Plaintiff,

      

v. " Civil Action No.
Board of Regents l University of Wisconsin System
Office of General Council

1852 Van Hise Hall

1220 Linden Dr

Madison, WI 53706

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University of Wisconsin-Milwaukee

Dr. Jeffrey Sommers

Associate Professor and Former Advisor
in his Official and Individual Capacities;
Dr. Anika Wilson

Chair, Department of Africology

in her Official and Individual Capacities',
Dr. Erin Winkler

Former Chair, Department of Africology
in her Official and Individual Capacities

Dean Marija Gajdardziska-Josifovska

in her Official and Individual Capacities

Johannes Britz

Chief Academic Officer/Provost

in his Official and Individual Capacities

 

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Defendants.

 

Mr. Patrick Delices
Pro Se

 

COMPLAINT AND JURY DEMAND

 

This cause of action arises from Defendants’ deliberately indifferent response age, race and sex
discrimination on the premise of the University of Wisconsin Milwaukee. Defendants’ singled
out and subjected plaintiff to several adverse actions denial of teaching positions offered to
female students, false complaints to deny federally funded grants, false charges of professional
misconduct, failing plaintiff on preliminary exam, denying full grading results, not replacing

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doctoral advisor after he removed himself because of complaints, leaving plaintiff in academic
limbo by not assigning doctoral status.

This action alleges violations of Title VI and the denial of equal protection of the laws under the
Fourteenth Amendment to the U.S. Constitution and violation of NYCHRL § 8~107.

lntroduction

l. Patricl< Delices proceeding Pro Se, brings this action pursuant to Title VI of the Civil Rights
Act of 1964 (42 U.S.C. § 2000d et seq., 78 stat. 252), to remedy acts of discrimination and
retaliation perpetrated against her by Officials in the University of Wisconsin. He also brings
Constitutional claims of violation of his Freedom of Speech, First Amendment and Fourteenth
Amendment,claims of deprivation of his Constitutional Rights and NYCHRL § 8-107..

Patrick Delices is a resident of Bronx, NY~and attended the University of Wisconsin and
discriminatory and retaliatory actions had an impact in Nevv Yorl< City.

Plaintiff contends that University of Wisconsin Milwaukee officials discriminated against him by
adverse actions after he and other students brought complaints about the department of
Africology. Faculty in the department beginning With Dr. Jeffrey Sommers and then joining him
discouraged his pursuit of a dissertation on his natural origin, failing him on his first preliminary
examination as a Way to end his academic career, denying him of an AOP Grant, denying him-of
an advisor, putting him in academic limbo because of his race (Haitian American) and natural
origin (Haitian descent)

Plaintiff further asserts that University foicials retaliated against him for having complained
about such discrimination, created a hostile Working environment for him, caused her to suffer
depression, failed to provide reasonable accommodation, failing to find remedies, forcing him to
out of the University and finally leaving him in academic limbo based on the discrimination /
retaliation

Jurisdiction

l. This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. § 1331, Which
gives district court’s jurisdiction over all civil actions arising under the Constitution, laws, and
treaties of the United States.

2. This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1343, which gives
district courts original jurisdiction over (a) any civil action authorized by law to be brought by
any person to redress the deprivation, under color of any State LaW, statute, ordinance,
regulation, custom or usage, of any right, privilege or immunity secured by the Constitution of
the United States or by any Act of Congress providing for equal rights of citizens or of all
persons Within the jurisdiction of the United States; and (b) any civil action to recover damages
or to secure equitable relief under any Act of Congress providing for the protection of the civil
»rights.

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3. This Court has jurisdiction over the subject matter of this civil action pursuant Title VI of the
Civil Rights Act of 1964 (42 U.S.C. § 2000d et seq., 78 stat. 252), (Pursuant to Title VI of the
Civil Rights Act of 1964, the Restoration Act of 1987 and other nondiscrimination authorities
Tirle VI states that: No person in the United States shall, on the ground of race, color, or national
origin, be excluded from participation in, be denied the benefits of, or be subjected to
discrimination under any program or activity receiving _Federal financial assistance. as more fully
set forth herein.

4. Title VI ~ Retaliation - Title VI does not include an express provision prohibiting retaliation.l
Nonetheless, courts, including the Supreme Court, have held that various anti~discrimination
statutes contain an implied cause of action for retaliation based on the general prohibition against
intentional discrimination See, e.g., Jackson, 544 U.S. at 173 (“Retaliation against a person
because that person has complained of sex discrimination is another form of intentional sex
discrimination encompassed by Title IX’s private cause of action”). A statute that prohibits
intentional discrimination implicitly prohibits acts of retaliation for complaints about or
opposition to discrimination See Sullivan v. Little Hunting Pai‘k, Inc., 396 U.S. 229, 237 (1969)
(a prohibition on racial discrimination includes an implicit prohibition on retaliation against
those Who oppose the discrimination); CBOCS West, Inc. v. Humphries, 553 U.S. 442, 451
(2008) (a race discrimination statute encompasses retaliation actions as Congress and long line of
precedent intended); GomeZ-Perez v. Potter, 553 U.S. 474, 479 (2008) (ADEA federal~sector
provision that prohibits age discrimination implicitly covers claims of retaliation for filing an age
discrimination complaint); Peters, 327 F.3d at 318-19 (prohibition against retaliation is implicit
in the text y.)f Section 601 of Title VI).

5 . First Am<:idment -This is also an action to redress the deprivation of Plaintiff’s constitutional
rights under the Fourteenth Amendment of the United States Constitution pursuant to 42
U.S.C. § 19""~'13.

6. Fourteenth Amendment -This is also an action to redress the deprivation of Plaintiff’s
constitutional rights under the Fourteenth Amendment of the United States Constitution
pursuant to 42 U.S.C. § 1983.

7 This court also h is jurisdiction over NYCHRL § 8- 107 When it is attached to Fedeial
Discrimination L1:1Ws and has impact in NeW York City.

Venue

8. Venue is proper in this judicial district under Title Vl of the Civil Rights Act of 1964 (42
U.S.C. § 2000d et seq., 78 stat. 252); as Plaintiff is a doctoral student in the Africology
Department of the University of Wisconsin Milwaul<ee at the time of the discriminatory and
retaliatory actions. Though Plaintiff’ student records are maintained by the University of
Wisconsin, MilWaukee and decisions adverse to Plaintiff’s employment that are the subject of
this civil action Were made in this judicial district of Wisconsin, the impact of the
discrimination is felt in Nevv York City. The Plaintiffs economics are impacted in New York
City.

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Parties

9. Plaintiff, Patrick Delices, an African-Haitian male who is 46 years old and a citizen of the
United States and a former resident of the State of Wisconsin during the adverse actions as a
student. At all times relevant to this suit, until his denial of an AOP Grant that paid his tuition
and the absence of an advisor which is necessary for continuation in the doctoral program.
Patrick Delices is a student at the University of Wisconsin Milwaukee (UWM) that has
completed his doctoral coursework and was on track to become dissertator status until the
adverse and retaliatory actions.

10. Defendant the Board of Regents University System of Wisconsin The Governing Body of
the University of Wisconsin Milwaukee.

1.1. Defendant the University of Wisconsin Milwaukee (UWM) is the Institution that receives
Federal Funding. See - https://uwm.edu/budget/uwms-budget-in-brief/

12. Defendant Jeffrey Sommers, is his former doctoral advisor in the Department of Africology
at UWM. Dr. Sommers is being sued here in his official capacity only as a professor.

13. Defendant Anika Wilson is the current Chair of the Department of Africology at UWM. Dr.
Wilson is being sued here in her official capacity only as a chairperson

14. Defendant Erin Winkler is the former Chair of the Department of Africology at UWM Dr.
Winkler Is being sued here in her official capacity of chairperson only.

15 . Defendant Daniel McClure is a former professor at UWM’s Department of Africology. Dr.
l\/lcClure is being sued here in his official capacity of professor only.

16. Defendant Nolan Kopkin is a professor_at UWM’s Department of Africology Dr. Kopkin is
being sued here in his official capacity of professor only.

17. Defendant Marija Gaj dardziska~]osifovska is the Dean of the Graduate School at UWM. Dr.
Gajdardziska-Josifovsl<a is being sued here in her official capacity as a dean only.

18. Defendant Johannes Britz is the Vice-President/Provost at UWM. Provost Britz is being sued
only in his official capacity of Vice-President/Provost at UWM.

Statement of Facts

19. Since 2013, l made repeated requests to teach a course in the Department of Africology. By
2015, l became aware that the female doctoral students who held the coveted teaching positions,

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but they do not hold professional experience and qualifications equal to my professional
experience and qualifications which include over seven years of experience teaching Black
Studies at Hunter College of the City University of New York; publishing; overseas travel and
research in Tanzania, Kenya, Egypt, Zanzibar, Algeria, Western Sahara's refugee camps, South
Korea, China, Spain, Chile, Brazil, Dominican Republic, Cuba, and Haiti; serving as a research
fellow for the late Pulitzer Prize historian Manning Marable at Columbia University; and
working as a career services professional at numerous institutions of higher education
Moreover, unlike any other PhD student at the Department of Africology, I hold four graduate
degrees (an MS.Ed., in Education Administration and Supervision from the City College of
New York; an EdM in Higher Education Administration at Teachers College, Columbia
University; an MBA in Quantitative Finance, Business Law, and Global Business from New
York University, Stern School of Business; and an MPA in International Economic Policy and
Management from Columbia University, School of International and P_ublic Affairs).

20. I made Dr. Sommers aware of the above gender discrimination complaint

21. In March 24, 2014, I was a member of a group of students who brought claims to the
Department of Africology criticizing the expertise and experience of the faculty who did
not have a PhD in African Studies. There were other issues, the chairperson at the time
was Caucasian and faculty members were neither well~versed nor grounded in Africology
theoretical and conceptual frameworks. These were concerns of the students and though I
was not leader of the complaints; however, because of my expertise and maturity, many
perceived me as the leader as I voiced many of the points in our grievance The Africology
faculty seemed upset about the concerns However, students have a right to question the
quality of instruction and the value of the degrees

This complaint was never sent to EDS by Winkler or Faculty of Africology to cover up
the complaint My belief is that they singled me out as the leader and a tiouble maker to
begin discrimination against me.

See Appendix 1 - Letter Grievances and Solutions.

22. l claim that the Letter Grievances and Solutions document is a protected action

23. Dr. Sommers knew of the letter because we talked about it. I guess he was trying to get
information

24. The PhD students in Africology got scared and deleted the copy of the complaint of
concerns where it was listed online. .

25. Since, Ihad made Dr Sommers aware of a gender discrimination complaint, lt might have

seemed natural that I was an important voice in the students’ complaint and a possible
problem 1n the department

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On August 2014, Dr. Sommers and I began a very difficult exchange in which he wanted
me to direct my work from Haiti to mass incarceration in Milwaukee. 1 told him that I
came to this school to do work on either a System Analysis of the Global Impczcz‘ of the
Haiti Revolution or the Political EcOn()my ofHaiti: From Slavery to Sovereigm‘y. He told
me that there is nothing more to write about Haiti. 1, being a Haitian, which is the natural
origin of my family, culture, language, worldview, and expertise, strongly disagreed with
J eff Sommers and felt that the comment was racist. I told him that l knew of many
Caucasian scholars writing about Haiti and Haitians were being marginalized from doing
academic research and scholarly work on Haitian and not getting proper credit for their
work. The very fact that l was helping Dr. Sommers write (co-author) a book that he had

- never finished years ago was a testament to this fact.

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I believe my work in the students’ complaint regarding the racial composition and the
expertise of the faculty of Africology created a discriminatory animus T he bringing of the
complaints to the faculty of Africology was a protected action

Dr. Sommers attempted to change my doctoral dissertation topic. l believe that my
disagreement with Dr. Sommers in terms of attempting to change my doctoral dissertation
topic was the first discriminatory action

l believe that Dr. Sommers took my disagreement with his racist views as not obeying his
consultation or advice. However, his advice was discriminatory to me.

One week prior to September 20, 2014, J eff Sommers asked for me to write an article
regarding pro»Voting Rights and anti*Gov. Scott Walker of Wisconsin T he article was
published on Scpt. 20, 2014 in the Mz`lwaukee Joumczl Senz'z'nel as “Preserving the right to
vote in the wake of Wisconsin's voter ID law.” The link to the article is found at
http://archive.isonline.com/news/opinion/preserving~the-right~to-vote-in~the-wake~of-
wisconsins*voter-id~law-119935379lzl-275847121.html/. This was out of my direct area

v of research and study, but I have written many articles on current events for the

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_ Amsz‘erdam News in New York and other online media outlets

Within a week of the article being published, Dr. Erin Winkler who was the chairperson of
the Dept. of Africology at that time told me that people are calling her office and sending
her emails requesting that l get kick out/expelled from UWM as a doctoral student She
also informed me that I had nothing to worry about as l expressed concerned for my
academic trajectory as a doctoral student at UWM. Indeed, the comments online were
disturbing as people called/emailed for her to expel me - now, these comments are no
longer visible on the site. Thus, I feared for my life because obviously someone was

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paying attention to me without warrant nor cause and Dr. Winkler said there were lots of
calls and that this was a state that I did not know the politics of and there were very high
incidents of racial prejudice against Black males l believe that Dr. Erin Winkler actions of
bringing up the matter were discriminatory and they scared me. I felt my life was being
threatened

1 believe that the use of anonymous persons making complaints about me was the first
usage of a tool that would be called later the whistleblower(s). This tool will bc used
against me within UWM and as it followed my academic and professional career. Several
charges will plague my career and good name from unnamed people with influence
making charges l believe at this point there existed political discrimination and/or racial
discrimination from someone very close to UWM and the Department of Africology who
also had influence and power to begin investigations and remained unnamed and
protected My belief that the usage of an anonymous person yet to be named was a
discriminatory tool.

Beginning in 2014, l had been working with Dr. Sommers as my doctoral advisor, J eff
Sommers not only sought me as his advisee, but he also immediately sought my expertise
with a book about Haiti in which he needed assistance completing to be able to have it
published, In exchange for my expertise and “co~authorship” (contributions).

Dr. Sommers wanted me to edit his work, including adding and updating facts and
arguments and write “chapters,” (introduction and epilogue). l agreed to assist with the
book, and began contributing under the assumption that the work on the book would not
interfere with my progress towards the PhD in Africology.

By the Spring of 2015 , with an overall GPA of 3.67, I completed all of the necessary
coursework in Africology.

By the Spring of 2015, I completed sufficient coursework to be able to take my prelims
and l engage in dissertation level coursework

By June 28, 2015, Dr. Sommers approved my request to take the preliminary exam,l
confirmed a bibliography for the exam of about 55 books on Haiti, and sent me the exam
question The topic was essentially the history and political economy of Haiti from
colonialism to independence to Haiti’s present state which is basically related to the book
“chapters” (introduction and epilogue) that I wrote.

At that time, Dr. Sommers did not provide a date to sit for the exam, which is required
prior to the test's commencement Throughout the summer of 2015, I repeatedly spoke
with Dr. Sommers and requested a preliminary exam date. Instead, Dr. Sommers steered
the conversation to the completion of the work for the book. I believe that this was
discriminatory

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As Dr. Sommers was my academic advisor with discretionary power over approval of my
dissertator status, l felt compelled to complete the extracurricular work for the book
without complain I also felt that something was wrong in that he delaying my prelim
exam for the completion of the book. I felt Dr. Sommers was discriminating against me
but had to finish the work.

In 2015, during that summer, I submitted my curriculum vitae to Dr. Sommers and
discussed gender disparity regarding teaching courses in Africology again This was a
protected action

l made a complaint to him again about gender discrimination regarding that matter.

In August 18th and August 25th - Dr. Winkler and Dr. Sommers discussed my work. They
discussed the credits that l need to take, they discussed my taking the dissertation class

Dr. Winkler wrote the following on August 24th 2015 :

Dear Jeff, -

I don't think the two different 799s should be a problem, but they would have to be with
different faculty (a student cannot sign up for the same course twice in one semester,

which your section of 799 would be). Also, there would have to be 799 paperwork for
each justifying the 3 credits, so there would have to be documentation that each would

- require 3 credit hours' worth of work for the Fall 2015 semester. Alternately, one of the

799s could be taken for only two credits

lt seems like it would make the most sense for another member of the dissertation
committee to be the instructor of record on one of the 799s.

l hope this helps,
Erin

See Appendix 2 - Sommers/Winkler Correspondence

By the Fall of 2015, Dr. Sommers still had not provided me with a preliminary exam date
nor did he assign me the 799 courses Instead, he inexplicably changed the topic of the
preliminary exam to include theories of imperialism and added a second bibliography -
this one on imperialism. Dr. Sommers also changed sporadically the selected documents
(the two bibliographies on numerous occasions as late as December of 2015 - take note
that my prelim exam was set for January 4, 2016). The number of publications ultimately
selected for me ballooned from about 55 in June of 2015 to 117 by December of 2015. My
understanding after conversations with other students is that other doctoral students in the

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program with approved bibliographies were required to review about 30 - 40 publications
and had one bibliography not two. I felt that Dr. Sommers was retaliating against me for
the protected actions of being part of the students that brought the complaint and
complaining about the teaching positions

Given the vast difference in approved bibliography lengths and the timing of the
bibliography and the topic modification within a short period of time, l claim now that this
was retaliation Moreover, l claim retaliation because other students were not subject to
this type of exam variance and disparity in the Dept., of Africology.

l claim that this was retaliation because Dr. Sommers policy on providing me‘with two
bibliographies was different procedure than with other students and l claim that his motive
was punishment for my complaints and that did not want me to be an expert
(scholar/intellectual) on Haiti, the place of my natural origins

l also claimed that the actions were close in proximity to the original student protected
action, to the complaints about teaching, to the Dr. Sommers trying to change my doctoral
work and my complaint and resistance.

During the summer of 2015, when the book (Race, Reality, and Realpolr`iik: U.S. -Haiti
Relati()ns in the Lead Up 10 the 1915 Occupation) which l contributed to was set for a
November 2015 publication date, Dr. Sommers abruptly and unfairly altered the topic of
my preliminary exam which was strictly on Haiti to the theories of imperialism. I
complained to him.

I claim that this was further retaliation to prevent me from becoming a documented expert
on my natural origins and but for the previous complaints

l disagreed and complained about the sudden change and voiced my concerns to Dr.
Sorn.mers regarding this sudden change, but he insisted that 1 focus on the theories of
imperialism. Dr. Sommers was very uncomfortable with my concerns and complaint,

l claim that Dr. Sommers attempt to change the focus of my exam to the theories of
imperzalism was retaliatory based on my earlier complaints I had done no major course
work on the theories of imperialism and my academic focus was on the political economy
of Haiti with a specific focus on slavery, colonialism, the Haitian Revolution,
decolonization and decoloniality. As a matter of fact, I spent two consecutive summers
(the Summers of 2014 and 2015) in Spain studying theories on colonialism and
decolonialism/decolonization and decoloniality.

As a result, unlike other doctoral students in the Department of Africology, the disparate
treatment is illustrated by the fact that I had two bibliographies one on Haiti and the other
on imperialism. Dr. Sommers kept changing the bibliographies as late as December of
2015 and l was scheduled to take the preliminary exam on January 4, 2016 with a reading

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list of over 100 books lt must be noted that l requested repeatedly to take the preliminary
exam since the spring/summer of 2015 and at that time, only one bibliography existed for
the main topic of agreement, which was on Haiti not the theories of imperialism.

l claim here that Dr. Sommers’s actions were based on retaliation for me asserting my
protected actions in the form complaining about him and leff Sommers preventing me
from being an expert in my natural origins

Any comments by Dr. Sommers against my abilities must be pretextual for it must be
noted that the exam reflected the work that l have completed in writing the introduction
and conclusion of our book that was published by November 2015 .

By August of 2015, UWM sent me a letter stating my federally funded AOP fellowship of
$15,000 per academic year was being rescinded because a “whistleblower” advised UWM
officials that l was employed at 4T's, a non-profit in NYC. UWM officials stated that part
of the basis for their belief that l was working in NYC was a posting on a website for 4Ts
where the employer failed to update a past voluntary post that l held there many years ago
before embarking to UWM. Upon my provision of proof, including a signed, notarized
letter from the founder/alleged employer ~ 4Ts., the denial of my AOP fellowship was
overturned lt is my belief that this was retaliation for my protected actions

However, UWM never revealed to me who the whistleblower was l repeatedly asked who
is the Whistleblower so l could defend myself. l believe the University was using a
John/Jane Doe to begin a process of retaliation against me.

l claim not letting me know who was the whistleblower in the proceedings was retaliation
to keep me from defending myself l should know my accusers l requested this to defend
myself and not giving it to me was retaliation

lt is my belief that the whistleblower is a member of the Department who is discriminating
against me and the University’s position of shielding that person from me and the exact
statement showed a retaliatory animus of the University, Whoever made the complaint had
access to my resume or vitae.

The University resolved the matter regarding the AOP fellowship in my favor. However, l
claimed and maintained that the entire matter was retaliatory action against me by the
University,

UWM reinstituted the fellowship for the 2015-2016 academic year.

On December 18, 2015, l requested for Dr. Sommers to approve my renewal of the AOP
fellowship for the academic year 2016-2017. And he replied, “l discussed the AOP issue
with our graduate faculty. Given the problems that surfaced this past year, it was decided

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another year’s AOP support can’t be tender'ed”. l questioned and complained how this
decision was made, and who determined what “problems” warranted the termination

The Advanced Opportunity Program (AOP) fellowship is funded by the State of
Wisconsin The AOP fellowship provided me with health care and was my main source of
financial assistance AOP fellowships are designed to assist members of groups under~
represented in graduate study, and other disadvantaged students to enter and complete a
graduate degree at UWM. Awards are granted to newly admitted or currently enrolled
UWM graduate students AOP fe'llowships are renewable for up to two years for master’s
students and three years for doctoral students and students enrolled in a terminal master’s
program Renewal is contingent on meeting course and program requirements and level of
academic progress toward degree as determined by each fellow’s advisor, No student may
qualify for more than three years of combined support in their master’s and doctoral
studies See http://uwm.edu/graduateschool/aop-guidelines/ for periods 2013 to 2016'.

l claim that Dr. Sommers acting as my academic advisor retaliated against me for my
protected actions by not wanting to sign off and approve my AOP fellowship. A
prerequisite was that the academic advisor signs off/approve the AOP fellowship and he
would not. l claim his action was retaliation for my previous protected actions and for
winning against the earlier denial of my AOP fellowship. This was part of another try of
retaliation

l claim that the rescission of the AOP fellowship for 2016-2017 was retaliatory and
involved several people in addition to Dr. Sommers

l claim that Dean Marija Gajdardziska~]osifovska participated in this retaliatory action ln
addition, instead of having a non-partial AOP Committee, Dean Marija Gajdardziska-
Josifovska managed the process as it pertained to me and made decisions about granting
and denying the AOP particular to me. l claim that l never received a grant letter of denial
from the committee during the time when other applicants were receiving grant/denial
letters At that time, l never knew the real reason for my denial. All of these actions were
retaliation for my protected actions by Dr. Sommers and the Dean andpossibly the
Africology Chairperson(s) either Dr. Erin Winkler or Dr. Anika Wilson or both. l will
later in this complaint impeach their non-discriminatory rationale for denying me the
AC)P. '

Dr. Sommers in his denial letter to me regarding the AOP denial said that he spoketo the
graduate faculty and that the AOP could not be tendered The Department Chair and Dean
Marija Gajdardziska~Josifovska would have been individuals that he spoke to. The letter
that he wrote is direct evidence that he spoke to people in the Graduate Committee that
could make such a decision

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l claim that their actions were designed to prevent me for having the necessary funds for
continuing my academic work and thus retaliation

By September 2015, l got a notice that the University was investigating me for
Professional Misconduct. The University said that after a tip from a whistleblower
indicated that in several videos, newspapers l referred to myself a Dr. or Professor.

During the investigation l told the Anika Wilson who was heading the investigation that l
felt singled out like Trayvon Martin and asked her, specifically what did l do - what
university policy have l violated and what laws have l obstructed And she said none l
also expressed to her that l felt that they were trying to force me out of the University.

ln November 24, 2015, Drs. Anika Wilson, Daniel McClure, Nolan Kopkin, and the
University accused me without due process of professional misconduct/misrepresentation

l was not a faculty member, l was a student. l claim that the charge was retaliation for my
protected actions as it proved to be another scheme of the University and its professors in
Africology along with the Dean participated in retaliation

l also claim that this was a violation of my First Amendment Right. l was formerly an
adjunct professor that taught for Hunter College in the African and Puerto Rican Studies
Department of Hunter College l have a right to call myself professor as long as l state
where l taught from.

l also claim that professor is a term in Haitian Creole, my natural origin of Haiti, for
teacher and it is in my culture to use this word as it does not always apply to academia/
higher education Nevertheless, l claim this is a violation of my free speech.

The charge never went away as the committee had sent a letter to various members of the
Department about their actions and charge l claim that purpose of this was to defame my
character and to prevent professors and staff from associating with me l claim that their
action was defamation of my character/ good name

The University sent me a letter saying that other faculty members were notified l claim
that this was retaliation and a tool to harm me academically. lt was a retaliation tool to
create a hostile educational environment

l also claim their actions of this charge was retaliation for my protected actions and that
one adverse came directly after another to break my spirit as l prepared for the preliminary

exam.

ln January 4, 2016, l was afforded the opportunity to take my prelim and submit the exam
within a week by its due date lanuary 11, 2016, which ironically was my 45th birthday. Dr.

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Sommers issued a failing grade on the exam and wrote “passing this prelim exam will take
much work (reading or re~reading) in order to better see the intersection between Haiti’s
development through the prism of theories of economic development and imperialism. l
have to be honest and state that it will be a steep climb to gain mastery, or even general
competence of these topics.”Dr. Sommers’ email failed to mention that the incorporation
of the theories of economic development was not part of the exam preparation ~ Dr.
Sommers did not request for me to focus on the theories of economic development for this
preliminary exam and interestingly, the other two committee members (Drs. George
Bargainer and Harwood McClerking) were not copied on his exam question

l claim that Dr. Sommers’s comments were adverse actions of retaliation He had earlier
denied my AOP and was now trying to end my academic career,

This action is but for my protected complaints and for winning the first AOP denial and
came as a continuous process of close adverse actions and complaints

To date, no other committee members (Drs George Bargainer and Harwood McClerking)
offered any feedback regarding this exam. My understanding is that it is highly unusual
for committee members to remain silent regarding their opinion of such an important
examination for if a student “so clearly missed the mark,” professors generally offer tips
to improve the quality of the student’s work. Finally, the language of the email quoted is
chilling and shows a predisposition of Dr. Sommers to fail me, regardless of the quality of
any future work submitted

l claim here that Dr. Sommers actions of failing me and not providing complete feedback
on my exam was retaliation for me asserting my protected actions of complaining about
him preventing me from being an expert in my natural origin of Haiti.

l made several requests for a complete feedback on my exam and Dr. Sommers never
complied with the feedback. l claim that not providing me with the feedback of the other
professors showed that he was the agent of adverse discrimination and of failing me on the
exam. He also was attempting to cover up what he had done

l claim that the actions of Dr. Sommers - not signing off on my AOP Fellowship and now
failing me on the preliminary exam were connected concerted actions of discrimination
and retaliation

On Feb. 29, 2016-l made a Complaint to the Federal Office of Civil Rights (OCR) about
my complaints to the University, See Appendix 3, Exhibits 1 -12 ~ First OCR Complaint.

By May of 2016, l took the prelim exam again, and l passed; even though, my

essay/answer for the first exam was similar, but not identical to my essay/answer on the
second prelim exam.

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The OCR complaint was dismissed because of a lack of response l did not receive a
notice that they sent me and was not able to respond orr time OCR gave me the
opportunity to resubmit the complaint or work internally. l decided to give the University
my complaints through its EDS department

l made formal complaints to the University beginning May 2, 2016 to the Universities
EDS foice on all occurrences of discrimination on John/Jane Doe (the "first whistle-
blower of the AGP investigation"), John/Jane Doe (the "second whistle-blower of the
Professional Misconduct investigation"), Dr. Jefferey Sommers, Dr. Erin Winkler, Dr.
Anika Wilson, Dr. Nolan Kopkin, Dr. Daniel McClure, John/Jane Doe (the "whistle-
blower") and Dean Marija Gajdardziska~losifovska. These complaints were composed of
complaints that l made individually, to investigatory committees

The complaints to the EDS are called EDS 16-0111 a-e (See Appendix 4). The EDS
department gave me directions to make the complaint to each individual l complied,
however, the individuals were largely working together in some capacity and l had to tell
the story over again in each complaint

After receiving each of the notices / reports by EDS, l responded and rejected them from
October 31, 2016 to January 2017. l responded and rebutted them. These constitute
protected actions These documents are illustrated in Appendix 5 ~ EDS notices and
rebuttals.

T he summer of 2016, Dr. Sommers wrote that he is no long advising me By August of

' 2016, l contacted Dr. Wilson who informed me that she was unaware that Dr. Sommers

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was no longer my advisor. l claim that this was retaliation for my protected actions

Upon knowing this fact, Dr. Wilson did not take any actions to ensure that Dr. Sommers
completed all of the work pending including completing the doctoral milestone application
form. The completion of the doctoral milestone application form would allow me to
continue to the next step of the dissertation processes Prior to electing not to serve as my
advisor, Dr. Sommers did not complete his obligations as an advisor by checking
off/completing my doctoral milestone form. The milestone had been pending since April
28, 2015.

l followed up by contacting Shane A Haensgen, doctoral retention advisor at UWM’s
Graduate School, to see if l was officially dissertator status for this semester. An email
exchange involving various parties (Patrick Delices, Shane A Haensgen, Dr. Wilson, Dr.
Sommers, and Dr. Mbalia) ensued At one point, Dr. Sommers claimed that he never
“advised” me on filing out the milestone/doctoral dissertation summary and to avoid
liability, he later stated that he “advised” me to complete the milestone/doctoral

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dissertation prospectus even though he was not sure about the foreign language
requirement and kept changing my proposed dissertation topic several times

The inability to resolve this multi-party conversation and the inability for the chair to
intervene l claim as retaliation for this non-action which placed me in academic limbo.

Once Dr. Wilson had knowledge of Dr. Sommers’s decision to step down as my doctoral
advisor, she did not secure a doctoral dissertation advisor and assist with the formation of
a doctoral dissertation committee on my behalf. '

l claim her actions are adverse and are retaliatory for my protected actions in the form of
complaints against her.

Not having an advisor and not having the dissertator milestone form filled out and not
having an advisor caused me to begin taking the semesters off while l wait for remedies
The harm has been indefinite academic limbo.

Dr. Anika Wilson a relatively new chair and Dr. Sommers take it upon themselves to point
to some words about the dissertator status in the Graduate Handbook. From the document
that they pointed to there is no working that a doctoral student must complete a
dissertation prospectus and/or have a dissertation committee to achieve dissertator status
However, it does state that a doctoral student needs a dissertator advisor and committee to
proceed in regard to the dissertation prospectus not dissertator status

Nevertheless, their argument is pretextual for they were supposed to get the Dean involved
or the Dean was supposed to be already involved which she was not - not to my
knowledge

ln addition, the process was unusual for Dr. Sommers never followed up earlier with
Shane A Haensgen, doctoral retention advisor.

100. Dr. Sommers and Dr. Wilson’s actions harmed my progress toward a PhD and are

retaliatory

101. l claim that Dr. Jeffrey Sommers, Dr. Anika Wilson’s non-actions along with Dean

Marija Gajdardziska-Josifovska actions are responsible for forcing me to take leave and
these are retaliatory actions based on my protected actions

102. As of May 2016, l have been left in academic limbo and without an academic advisor

(permanent or temporary) which has prevented me from continuing my academic work
towards my doctoral dissertation on Haiti, the place of my natural origin l\/loreover, it has
prevented me from obtaining funding to continue my academic work.

103. I have made repeated requested to Dr. Anika Wilson, the Chair of Africology, about this

matter with her only response that it is my job to secure an advisor. l have written several
faculty members and received no answer. l asked Dr. Anika Wilson to intervene with no

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success l have repeatedly asked Dr. Wilson to intervene on my behalf to secure a doctoral
advisor and committee for me (See Appendix 6 & Appendix 7) given the fact that it has
been over one month since l made a request to Dr. McClerking to serve as my doctoral
dissertation advisor in addition to having Dr. Gelan to serve in my doctoral dissertation
committee (See Appendix 6 & Appendix 7). l asked Dr. Wilson to reach out to Dr.
McClerking on my behalf to see if he would agree to serve as my advisor. lnstead of
cooperation or assistance Dr. Wilson informed me that UWM professors are not “on
contract” during summer months and never answered my query as to whether or not she
actually reached out to him. Thus, due to her lack of action, l can see no reason for her
indolence except for retaliation Moreover, by exploiting the fact that Dr. Sommers is no
longer “advising” me the electronic correspondences clearly show that Dr. Sommers
along with Dr. Wilson should have completed/closed out pending issues regarding my
milestone given the fact that Drs. Wilson and Sommers are obligated to do so. According
to Shane A Haensgen, as of September 7, 2016, Dr. Sommers is listed as my “advisor”
and Dr. Wilson is listed as the “Grad. Rep” and only Dr. Sommers could check off that l
met all the requirements and only Dr. Wilson can approve what Dr. Sommers checked off
(See Appendix 6 & Appendix 7). For them to do so, would change my academic standing
at UWM to dissertator, but they refused to do so because of retaliation As such, Drs.
Wilson and Sommers are exploiting this situation by not taking ownership to move this
matter along as it is their obligation to do so and in spite of the fact that Shane A

Haens gen indicated that they need to sign off the milestone so l can become a dissertator
status”

104. According to the letter sent by Erin Winkler to Dr. leffries (See Appendix 2), l had a

dissertation committee before the prelim exam. ln addition, those who graded my exam
were of my dissertation committee Dr. Wilson could have assigned a person from the
committee and l would have accepted that person or not Her actions of not providing me
an academic advisor and placed me in academic limbo and are pretextual and retaliation

105. Dr. Anika Wilson and Dr. Sommers’s actions knowing that l had a protected action on

them and not seeking unbiased expertise is retaliation for my protected actions and would
dissuade anyone from complaining about discrimination or retaliation

106. Now, out of the University, l am not eligible for academic funding and health benefits at

UWM as a doctoral student They caused this situation lhave never taken time off prior
to this and was ahead of my cohort = actually, l was the last member of my cohort as the
other two students dropped out of the,doctoral program in Africology, l am claiming that
this adverse situation is retaliation

107. Dean Marija Gajdardziska-Josifovska has the direct oversight of the Department of

Africology and is obviously aware of the circumstance through the various complaints and
has not intervened in the matter.

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108. VP/Provost Britz, who oversees the Dean, through the various EDS complaints / reports
along with OCR complains has not intervened in the matter.

109. l claim that Provost Britz, Dean Marija'Gajdardziska-Josifovska, Dr. Anika Wilson, and
Dr. Jeffery Sommers with intent purposely placed me in academic limbo as~retaliation for
my protected actions '

110. Beginning October‘ 31, 2016, l appealed and rejected a series of EDS reports this report
largely delayed with my discrimination complaints about Erin Winkler and discrimination
of teaching positions to males This was Complaint NO: 16-011 (A).

111. ln my response l said, “l reject the findings/conclusion of EDS and l am appealing its
report regarding Complaint NO: 16-011 (A) based on the following eight grounds:
Feedback from male doctoral students was not included in this report which goes back to
my original discrimination complaint - there is no equal opportunity in
positioning/placing male doctoral students to teach a course not simply as a TA. The
report by EDS never mentioned whether or not male doctoral students were interviewed
for this particular complaint/report And if they were interviewed for this particular
complaint, what was their response? All the witnesses were female doctoral students who
had the opportunity to teach a course in the Department of Africology - EDS only
interviewed female doctoral students - thus making this decision susceptible to bias Gne
must therefore ask, where are the male doctoral students who are not TAS, but taught a
course in the Department of Africology ~ do they exist? lf not, why not? And if so, why
were they excluded from being interviewed regarding this extremely important sensitive
matter? Therefore, l am requesting that male doctoral students in the Department of
Africology to be interviewed regarding this matter. There is no reason that UWM or EDS
can give for not interviewing male doctoral students in the Department of Africology
regarding this particular complaint

112. l\/ly discriminatory complaint is about male doctoral students teaching a course not about
male doctoral students being a TA. My discrimination complaint was about teaching
positions The University has never answered this claim. And is attempting to hide its
adverse action of denying Male Students with experience the privilege of teaching as it did
with female students

113. Dr. Erin Winkler never correct clarified or rectified the matter. l assert after the
University has given its answer through the EDS procedure that Dr. Erin Winkler’s
actions was gender discrimination

114. The University has never gave an explanation regarding Dr. Jeffrey Sommers non-
actions after l made the complaint of gender discrimination on numerous occasions during
2015 as we were writing/working on his book I reassert the claim that Dr. Jeffrey
Sommers non-actions were discriminatory and he knew l engaged in a protected action

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115. ln Complaint No: 16-011(F) concerning Respondent: Dr. Marija Gajdardziska-
Josifovska on December 29, 2016, the Equity/Diversity Services lnvestigation Report
showed a letter from Dr. Sommers that said this “Hi [Complainant], l discussed the AOP
issue with our graduate faculty. Given the problems that surfaced this past year, it was
decided another year’s AOP support can't be tendered l'm sorry about that”.

116. ln this letter, Dr. Sommers let me know that the Graduate Faculty by discussion would
not award me the AOP fellowship. This denial by group would happen before any of the
pretextual statements from Sommers, and Dean Dr. Gaj dardziska-Josifovska regarding the
denial.

117. l submit this report as direct evidence of retaliation by Sommers, the Dean Dr. l\/larija
Gajdardziska-Josifovska, Dr. Anika Wilson This discussion about denying me was after
my protected actions of the first OCR complaint and during the EDS complaint Both
Sommers and Wilson were individuals that l complained of and Sommers here rs saying
that he initiated the discussion

118. ln Complaint No: 16-01 1(F) concerning Respondent: Dr. Marija Gaj dardziska-
Josifovska on December 29, 2016, by the Equity/Diversity Services lnvestigation Report,
the pretextual denial letter is looked at. There own words - Approximately ten days after
filing his complaint with EDS, on May 9, 2016, the Complainant received a letter from the
Respondent, which informed the Complainant that his AOP Fellowship would not be
renewed for the 2016-17 academic year. ln relevant part, the Respondent’s letter read: The
Graduate School has reviewed your application to renew your Advanced Opportunity
Fellowship award We regret to tell you that the award will not be renewed for academic
year 2016-17. AOP award recipients are required to carry and complete a full load of 8-12
graduate credits per semester during the academic year, and to demonstrate satisfactory
progress toward their degree These terms were clearly communicated to you in an email
on March 14, 2014, . .when the initial award offer was made They are also explicitly
outlined in the AOP recipient handbook, as well as the award acceptance letters signed by
you on March 17, 2014 and on March 31, 2015. During the current 2015-2016 award year,
you failed to maintain compliance with these award requirements A review of your
transcript shows that in fall 2015, you enrolled in nine credits taken for credit/no-credit.
The Graduate School website . .advises all graduate students “You may not register for a
course on a credit/no credit basis except when a course is offered only for credit/no
credit.” Your semester GPA was calculated at 0.0 and did not contribute to maintaining a
satisfactory GPA. The credits earned cannot count toward your degree and cannot
demonstrate your satisfactory progress During the‘current semester [that is the,Spring
2016 semester], you enrolled for only three credits again on a credit/non-credit basis
Therefore, in spring 2016, you not only failed to take graded coursework appropriate to a
graduate student but also failed to maintain the required course load We note that the

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courses for which you enrolled this year (all U/G courses at the 300-500 level) did not
follow the plan of study for intended coursework which you submitted for your previous
award renewal, which specified more advanced options at the 600-900 level. These
circumstances all suggest reason for pause regarding the renewal of a fellowship that is
awarded competitively on the basis of academic merit ln addition the Graduate School
requires initial nomination for the AOP award by the graduate program, which you
received, and continued annual support from the program for renewal of the award Your
application for AOP award renewal in 2016-2017 was not supported by your program,
Accordingly, your current AOP Fellowship is determined to not be renewable . ..

1 19. l submit this whole letter - (See Appendix 6 & Appendix 7) as direct evidence of pretext
and retaliation The EDS investigation unit says that the letter was written 10 days after l
submitted my EDS complaint l only got this letter after l complained about the process
and not receiving my letter of acceptance or denial when others received theirs

120o This letter is also direct evidence of retaliation for the following reasons l had completed
all of my coursework in the Summer of 2015 and my GPA was already calculated at 3.67.
l was taking extra classes to fulfill enrollment purposes l chose credit or non-credit
courses only for enrollment Here the Dean’s statement is pretextual in that she said she
looked at my transcript but if she did she would have known that my GPA was 3.67 and
that l completed my coursework for the program in a record year and half in the pro gram.
Her statements about GPA and Credit fall flat on its face and are direct evidence of
retaliation ln addition, she was one of the people in the Graduate Program that Sommers
must have talked to when he initially denied me before l even put in the application

121. ln the same investigatory letter, the following was rendered from the Dean Dr. Marija
Gajdardziska-Josifovska “She explained that she first became aware that the Complainant
had filed a complaint with EDS when she was copied on an email that the Complainant
sent to the Provost on May 23, 2016. ln the email, the Complainant voiced concerns about
the Doctoral Advisor continuing to serve as the chair of his preliminary examination
committee The Respondent indicated that she had not discussed the complaint the
Complainant filed with EDS with any of the faculty members in the Department of
Africology, The Respondent stated she had been informed in March 2016 that the
Complainant had filed a discrimination complaint “at the federal level” (that is with the
OCR) that concerned the denial of his A()P Fellowship. However, she denied that the
Complainant’s filing of a complaint with the OCR had any effect on her decision not to
renew the Complainant’s AOP Fellowship. She stated that the Complainant’s application
was considered in the same way as any other student who requests renewal of their award:
by reviewing the applicant’s transcripts to determine their academic status and progress
and by assessing whether the applicant has the support of their program in their request for
renewal. She reiterated that the Complainant’s application and the subsequent review
conducted by the Graduate School, failed to satisfy both of these criteria. For this reason,
the Complainant’s request for renewal was denied

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122. l submit this as direct evidence of retaliation for she does not mention that Sommers had
proffered in his letter that he met with several members of the Graduate Committee and it
was decided that his AOP fellowship could not be continued Here she knows about the
protected actions She knows that Dr. Sommers and Dr. Wilson are being charged with
discrimination yet she says that she did not talk about the complaints

123. Also in the letter, the statement from EDS, that “She stated that the Complainant’s
application was considered in the same way as any other student who requests renewal of
their award: by reviewing the applicant’s transcripts to determine their academic status
and progress and by assessing whether the applicant has the support of their program in
their request for renewal. She reiterated that the Complainant’s application and the
subsequent review conducted by the Graduate School, failed to satisfy both of these
criteria For this reason the Complainant’s request for renewal was denied.”, is direct
evidence of retaliation for Dr. Sommers had already ahead of the process spoke to
members of the graduate committee by his statement to deny him. The Dean in the letter
also knew of the complaints Thus, my complaint was not handled the same as other
statements and this letter shows not only pretext but retaliation by the Dean Marija
Gajdardziska-Josifovska and by Dr. Sommers This type of process would dissuade a
reasonable person from complaining about discrimination

124. l further submit that the Associate Dean’s statements show Dr. Sommers’ retaliatorin
actions The Associate Dean said the following, “T he Associate Dean explained that one
of her primary duties in the AOP Fellowship application process is reviewing applications
which are “incomplete.” The Associate Dean indicated that the Complainant’s application
for renewal of his fellowship for the 2016-17 academic year was one such “incomplete”
application She recalled that the Complainant’s advisor had not “checked off the box” on
the application form indicating that he (the Doctoral Advisor) was recommending renewal
of the fellowship, and that the area of the form documenting the Complainant’s academic
status was left blank. As a result, the Associate Dean stated she had to “chase down” the
Doctoral Advisor to receive an explanation as to why he was not recommending renewal
of the Complainant’s fellowship. By this point, the February 5 deadline for advisors to
submit renewal requests had passed, and the Doctoral Advisor was therefore “locked out”
of the online application system. As such, the Doctoral Advisor was required to provide
“an email or letter” explaining his rationale for not recommending renewal of the
Complainant’s AOP award Gn March 28, 2016, the Doctoral Advisor forwarded an email
from one of his colleagues in Africology who reported to the Doctoral Advisor “the
difficulty [she] encountered with [the Complainant];” this email is described in greater
detail on page 17 of this report Subsequently, on March 30, 2016, the Doctoral Advisor
submitted his own letter detailing his concerns about the Complainant’s performance in
the Doctoral Program in Africology; this letter is described more fully at pages 10-11 of
this report.”

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125. Here Dr. Sommers did not complete the application and had to be chased down for an
explanation This is direct evidence of retaliation

126. Dr. Sommer’s explanation for not recommending in the same report is the following,
“Ultimately, on March 30, 2016, the Doctoral Advisor submitted a letter to the Graduate
School explaining his rationale for not recommending renewal of the AOP Fellowship. ln
that letter, the Doctoral Advisor wrote (in relevant part): [The Complainant] has had 4
grades in the “B” range (Africology 880, 701, 814 and another 880) in our program,
including a B-. At the doctoral level, the expectation is for A level performance
Moreover, [the Complainant] had incompletes which he completed This in itself is not
inherently problematic, but the faculty involved complained that work was done to a low
standard Page and not delivered when promised .. Thus, we have a student who last
academic year was frequently absent performed at a subpar level academically, routinely
inconvenienced our faculty and who by unanimous decision of his prelim committee
failed (badly) his prelim exam. Given the above academic performance and related
problems the assessment of our graduate ,faculty, including myself as [the Complainant’s]
advisor, is that another year’s AOP funding is not warranted.”

127. Dr. Daniel l\/lcClure said l was subpar academically; even though, lhad a 3.67 GPA. Dr.
Sommers stated that my academic performance was declining; even though, l completed
all my doctoral coursework in Africology within l. 5 years unprecedented and unlike
any other doctoral student with a 3.67 GPA. See Appendix ll ~ Academic Transcript
and Progress Report

128. J eff Sommers and other faculty members stated that l was not making academic
progress toward my degree and l was subpar is proven to be false pretextual,
discriminatory, and retaliatory given the fact that on August 18, 2015, J eff Sommers to
an email to Er'in Winkler, the chairperson of Africology at that time, stated for the Fall
2015 semester Patrick Delices “needs to take 8 or 9 credits to maintain his AOP, but he
has fulfilled his course requirements for our program.”

129. On that same email to Erin Winkler on Aug. 18, 2015, J eff Sommers asked her “can he
take 3 credits of Africology 325 and then 3 of 799 for Prelim prep and another 3 of 799
for Doctoral Dissertation Prospectus prep for a total of 9?”

130. On August 24, 2015 letter, Erin Winkler replied to J eff Sommers and stated:

“l don't think the two different 799s should be a problem, but they would have to be with
different faculty (a student cannot sign up for the same course twice in one semester,
which your section of 799 would be). Also, there would have to be 799 paperwork for
each justifying the 3 credits so there would have to be documentation that each would
require 3 credit hours' worth of work for the Fall 2015 semester. Alternately, one of the
799s could be taken for only two credits

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lt seems like it would make the most sense for another member of the dissertation
committee to be the instructor of record on one of the 799s.”

131. The email exchange between Sommers and Winkler clearly proves that l am not subpar;
successfully made academic progress toward my PhD and being dissertator status;
completed all of my coursework for Africology; was ready to take a dissertation course;
had a dissertation committee; and had no problem with my renewed AOP fellowship until
December of 2015 , when leff Sommers did not want it to be renewed

132. l claim that there are many instances that the EDS and those handling my OCR
complaint were retaliatory in that they those interviewed did not state that they were
notified by EDS or those handling my OCR complaint for instructions on non-retaliatory
actions toward me. They seem to make their own decisions

133. l claim that the EDS and those handling my OCR complaint were retaliatory in that there
were many contradictions and separate statements yet the University did not re-interview
the respondents

134. Provost Britz is the chief academic officer of the University of Wisconsin l\/ladison. The
Provost issued all final reports after l rebutted each and every final report See Appendix
8 - Final Reports & Rebuttals A-F. '

135. The EDS reports come after l initially filed the first OCR complaint - Here the
University was notified of my protected actions

136. The Final Reports come after the EDS reports Rebuttals A-F. Each and every report and
rebuttal were protected actions

137. Provost Britz listed no remedies for the matters and his reports stand as the Universities
voice on its non-discriminatory and non-retaliatory and non-defamation of character
final decision on my matter.

138. As of Jan. l, 2016, l had completed the following actions and simply need an academic
Advisor to continue and Provost Britz non actions of keeping me out of the University is
but for my protected actions -

a. Completed all major and minor course requirements

b. Passed the doctoral preliminary examination

c. Submitted a dissertation topic summary or proposal hearing form to the Graduate
school.

d Met residence requirements

e. Cleared incomplete and “progress” grades/reports in non-research courses

f. Achieved a 3.0 or higher cumulative GPA.

g. Completed the language requirement (if required).

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h. Completed other departmental requirements (if any).

139. On March 27, 2017, l amended my OCR Complaint to file Retaliation against the
Provost

140. lt is in these documents l add new charges of retaliation and then ultimately charge the
Provost for retaliation for not providing any remedies and for rubber-stamping th_e reports
See Appendix 9 & Appendix 10 ~ Second OCR Amended Complaint

141. Provost Britz is not an expert on discrimination and retaliation law. He has no training
listed in any of the EDS reports and his professional vitae

142. Since Provost Britz has no advanced discrimination or retaliation training and his voice
was the final decision that forced me to take involuntary leave left me without an
advisor, without an AOP grant without dissertator status without health benefits and
caused me pain and suffering, l am claiming that his actions are retaliation and serving
as the final word of the University would dissuade a reasonable person from
complaining about discrimination and retaliation See Appendix 10.

143. l claim that in doing so, the University has given up its affirmative defenses for
retaliation against protected actions

144. l have also reviewed the discriminatory policy of UWM and they do not factor rn the
concept of dissuading a reasonable person from complaining rn its wording. The
University should lose an affirmative defense because there rs no wording on
“dissuading a reasonable person from complaining” about discrimination (See
https://www4.uwm.edu/secu/docs/other/S 47.1)dD.

145 . l also claim that through the OCR complaint, the University had been fully notified that
l claimed that through these actions the Provost and thus the University was retaliating
against me for my protected actions

146. Though the OCR complaint was dismissed without finding, there has been no action by
the University to correct any of these matters and the University seems to think that the
dismissal meant that there was no retaliation l disagree and claim that the University
actions and process and allowing a non- discrimination trained academic officer to issue
the final word rs indeed retaliation

147 l was subjected to adverse Hostile Education Environment as the denial of registration
from not having an advisor prevented you from completing my doctoral program and from
doing research rn New York City regarding my dissertation topic. Hence, Provost Britz

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retaliation included the rubber stamping of the EDS findings without having any advanced
anti-discrimination training harmed me.

148. ln spite of falsely labeling me “subpar academically” and defaming my academic and
professional character, UWM awarded me the Chancellor’s Award several times ~
ironically, the last time being in Fall of 2015 .

Count l

Violation of Title Vl of the Civil Rights Act of 1964 (42 U.S.C. § 2000d et seq., 78 stat 252)
Plaintiff was subjected to adverse action as a result of his natural origin by the University
through its officials

Plaintiff incorporates the preceding paragraphs as set forth fully herein

Count 2

Violation of Title Vl of the Civil Rights Act of 1964 (42 U.S.C. § 2000d et seq., 78 stat 252)
Plaintiff was subjected to adverse discriminatory action as a result of his race by the University
through its officials

Plaintiff incorporates the preceding paragraphs as set forth fully herein

Count 3

Violation of Title Vl of the Civil Rights Act of 1964 (42 U.S.C. § 2000d et seq., 78 stat. 252)
Plaintiff was subjected to a Hostile Educational Environment by the University through its
officials

Plaintiff incorporates the preceding paragraphs as set forth fully herein

Count 4

Retaliation by Dr. Sommers v

Violation of Title Vl of the Civil Rights Act of 1964 (42 U.S.C. § 2000d et seq., 78 stat 252)
prohibits intentional discrimination implicitly prohibits acts of retaliation for complaints about or
opposition to discrimination '

Patrick Delices further alleges that "[ajt various times 111 the recent past [he] engaged in
protected activity by voicing concerns and complaining about discriminatory and unfair
treatment to his former advisor Dr. Sommers,

Patrick Delices alleges that he opposed discriminatory practices of the University and took
specific actions lie complained in an ernail. He filed an OCR complaint I~~le filed an EDS

complaint to exhaust his remedies

Patrick Delices alleges that as a result of her activities The former advisor retaliated against
him by changing his attitude one he disagreed with him changing his proposed dissertation topic;

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creating a burdensome action of constantly updating his reading list for preparation of the
preliminary exam; failing him on his exarn; Denying him the A()P fellowship

After filing complaint with the Office of Civil Rights

Defendant Dr. Sommers removing himself as his advisor after Patrick Delices passed the second
exam. Defendant Dr. Sommers failed to complete initial administrative work assignment to
dissertator status;

After filing internal complaint with EDS

Defendant Dr. Sommers did not provide him with a temporary advisor; making a false analysis
that his grades were dropping in EDS proceedings

Plaintiff incorporates the preceding paragraphs as set forth fully herein

Count 5
Violation of Title Vl of the Civil Rights Act of 1964 (42 U.S.C. § 2000d et seq., 78 stat 252)
Retaliation Dr. Anika Wilson

Violation of Title Vl prohibits intentional discrimination implicitly prohibits acts of retaliation
for complaints about or opposition to discrimination
Plaintiff incorporates the preceding paragraphs as set forth fully herein

Count 6

Retaliation Dean

Retaliation by Dr. Sommers

Violation of Title Vl of the Civil Rights Act of 1964 (42 U.S.C. § 2000d et seq., 78 stat 252)
Prohibits intentional discrimination implicitly prohibits acts of retaliation for complaints about or
opposition to discrimination

Patrick Delices further alleges that "[a]t various times in the recent past [he] engaged in
protected activity by participating in a student complaint filing an initial complaint to the OCR,
by filing an EDS complaint that the Dean was aware of.

Plaintiff incorporates the preceding paragraphs as set forth fully herein

Count 7

Retaliation Provost

Violation of Title Vl of the Civil Rights Act of 1964 (42 U.S.C. § 2000d et seq., 78 stat 252)
Prohibits intentional discrimination implicitly prohibits acts of retaliation for complaints about or
opposition to discrimination

Count 8
First Amendment - Fee Speech

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Plaintiff incorporates the preceding paragraphs as set forth fully herein

Count 9
Fourteenth Amendment »-- Equal Protection

Plaintiff incorporates the preceding paragraphs as set forth fully herein

Count 10

Violation of Wisconsin Defamation Law

1) a false statement; (2) communicated by speech, conduct or in writing to

a person other than the person defamed; and, (3) the communication is unprivileged and tends to
harm one's reputation so as to lower him or her in the estimation of the community or to deter
third persons from associating or dealing with him or her.

Plaintiff incorporates the preceding paragraphs as set forth fully herein

Count 11
Violation of NYCHRI., § 8-107 Section 4 Public accommodations a. lt shall be an unlawful
discriminatory practice for any person being the owner, lessee proprietor, manager,
superintendent agent or employee of any place or provider of public accommodation because of
the actual or perceived race, creed, color, national origin age gender, disability, marital status
partnership status sexual orientation or alienage or citizenship status of any person directly or
indirectly, to refuse withhold from or deny to such person any of the accommodations
advantages facilities or privileges thereof, or, directly or indirectly, to make any declaration
publish, circulate issue display, post or mail any written or printed communication notice or
advertisement to the effect that any of the accommodations advantages facilities and privileges
of any such place or provider shall be refused, withheld from or denied to any person on account
of race, creed, color, national origin age gender, disability, marital status partnership status
sexual orientation or alienage or citizenship status or that the patronage or custom of any person
belonging to, purporting to be or perceived to be of any particular race, creed, color, national
origin age gender, disability, marital status partnership status sexual orientation or alienage or
citizenship status is unwelcome objectionable or not acceptable desired or solicited

Plaintiff brings attention to this court that Plaintiff believes that the discriminatory actions have
an impact in New York City for the discriminatory actions ended his academic career and sent
him back to New York City. Thus they had an impact in New York City.

Plaintiff incorporates the preceding paragraphs as set forth fully herein

Count 12
Violation of NYCHRL § 8-107 Section 7. Retaliation

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lt shall be an unlawful discriminatory practice for any person engaged in any activity to which
this chapter applies to retaliate or discriminate in any manner against any person because such.
person has (i) opposed any practice forbidden under this chapter, (ii) filed a complaint testified
or assisted in any proceeding under this chapter, (iii) commenced a civil action alleging the
commission of an act which would be an unlawful discriminatory practice under this chapter,
(iv) assisted the commission or the corporation counsel in an investigation commenced pursuant
to this title or (v) provided any information to the commission pursuant to the terms of a
conciliation agreement made pursuant to section 8-115 of this chapter, The retaliation or
discrimination complained of under this subdivision need not result in an ultimate action with
respect to employment housing or a public accommodation or in a materially adverse change in
the terms and conditions of employment housing, or a public accommodation provided,
however, that the retaliatory or discriminatory act or acts complained of must be reasonably
likely to deter a person from engaging in protected activity.

Plaintiff brings attention to the court that adverse action Provost Britz occurred after protected
actions of bringing a student complaint to administrators EEOC complaint, first GCR complaint,
second GCR complaints EDS complaint rebuttals to EDS complaints

Plaintiff brings attention to this court that Plaintiff believes that Provost Britz final reports were
retaliatory and were sent to Plaintiff in emails that were received in New York and the retaliation
had impact in New York City. The retalitorial actions ended his academic career and sent him
back to New York City. Thus they had an impact in New York City.

Plaintiff incorporates the preceding paragraphs as set forth fully herein

Count 13

The Wisconsin liair Employment State Law

The University discriminated against hiring Plaintiff in a teaching position as it did female
students

Plaintiff incorporates the preceding paragraphs as set forth fully herein
Count 14
Violation of Wisconsin Social Media State Law »
The University officials went on Plaintiff’s social media to look for evidence to investigate and
make charges against Plaintiff for their charge of Professional Misconduct.
Plaintiff incorporates the preceding paragraphs as set forth fully herein
PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays for relief as follows:

A. Defendant University of Wisconsin be served with process and answer herein;

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B. An award of damages in an amount to be established at trial, including, without limitation
reimbursement and prepayment for all Plaintiff’s tuition or related expenses; payment of
Plaintiff’s expenses incurred as a consequence of the discrimination and retaliation; damages for
deprivation of equal access to educational benefits and opportunities provided by the Defendant
and agents; and damages for past present and future emotional pain and suffering, ongoing and
severe mental anguish and loss of past present and future enjoyment of life;

C. An Order enjoining the University of Wisconsin l\/lilwaukee, along with all of its agents
employees and those acting in concert therewith, from unlawful discrimination on the basis of
sex, including the failure to address prevent and/or remedy sexual harassment

D. lnjunctive relief requiring University of Wisconsin-Milwaukee to redress its violations of
Title lX including: 1) adoption of a “zero tolerance” policy under which there will be mandatory
investigations into any allegations of sexual assault by an employee upon a student and
immediate terminations thereto.

E. Attorney fees when an Attorney his hired

F. Cost for trying this action

G. Costs to be taxed to Defendant

H. For such other and further relief as the Court may deem proper and

l. For pre and post judgment interest

PLAINTIFF_ DEMANDS TRlAL BY JURY RESPECTFULLY SUBl\/IITTED this the /jth day

 

 

Patrick Delices

Pro Se

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APPEND|X 1

Graduate Students' Grievances and Solutions

March 26, 2014

Our interests lies in making sure that the current and prospective graduate students have a
fulfilling experience With that being said, below are some impediments and solutions that we
are presenting We kindly request a response back from the Graduate Affairs Committee by
April llth regarding the plans to resolve our issues

Grievances and Questions:

 

We disagree with the purpose of comprehensive exams lf we are receiving a grade in
the class what is the purpose of an extra written exam?

Students in the Political Economy and Public Policy tract have no guidance for
preliminary exams There is no structure for the exams at all. This issue need to be
addressed immediately

Students who enter the program with a graduate degree in a related field should receive
more credits for the work they have completed

Students who have teaching and/or teaching assistant experience should be able to teach a
class earlier than their third year. .

Low teacher expectations from graduate professors needs immediate attention What our
professors expect from us influences how they teach, how much they cover, and our
performance as well.

Not hiring Black Studies graduates is problematic because it sends a message to current
Africology students who are considering teaching careers that our field is not hiring its
own. Additionally, some professors hired from outside of Black Studies may not have a
grounding in the field, which restricts their ability to teach from a africological
perspective

The exclusion of grad students from both the hiring process as well as the Graduate
Student Committee creates a disconnection within the department lt also is not
conducive to a collective of students professors and staff working together to strengthen
the department

The lack of transparency in the department creates an atmosphere of uncertainty on
behalf of the students in regards to expectations and requirements

Teachers need to be prepared for student TA’s. Also, TAs are contracted for 20 hours of
work per week. How is it justified that a TA who teaches two sections of their own
course are considered to be working the equivalent to a TA who is working with a
professor. This is especially in light of the new policy that TAs with low enrollment now
have to work on other department committees

The statistics course currently not serving students As an interdisciplinary department
students should learn techniques that they are likely to use in their research. The way the
class is taught now does not allow students to leave the class being able to conduct their
own experiments or interpret statistical scholarly papers

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There needs to be a key to the main office that we can keep in the TA office

ln order to work with the department in re-creating and re-structuring a program that meets the
needs of current and future students we have provided a list of solutions for your consideration
Proposal of solutions to our grievances

Our main concern is focused on the Graduate Affairs Committee This is where we feel
we can make the most impact and where the faculty has the opportunity to be transparent
By being on the GAC we can work with the professors on the more long term concerns
The GAC meeting needs to be open to all students and faculty that want to attend for
observance We also demand at least 2 active seats on the Graduate Affairs Committee
AGSA would decide on how we will select these 2 seats

As a solution to our concerns of comprehensive exams, there should be an alternative to
comprehensive examinations lt should be an oral exam, or students should be able to
submit a l\/IA thesis or MA exam in a related field

As a solution to the hiring practices of the department we should have students more
involved in the hiring process This involvement needs to go past attending job talks and
submitting feedback. Students from specific tracts should be involved in hiring new
faculty in their relative tract

There needs to be an external evaluation of the department from an Africological
perspective e.g. a committee of professors/students from other black studies departments
or revered persons in the field Graduate students need to be fully and actively involved
in choosing who would perform the audit The external review provides a third party
perspective and speaks to all of the concerns that we have of the department by
providing multiple critical views of the functioning of the department This also speaks to
black studies departments in total being more collaborative and cohesive

As a solution to the Credit transfer of students who come into the program with a graduate
degree in a related field the number of credits able to be transferred should be up to half
of what is now the 48 credit requirement of course work. This should be based off of the
student holding a degree in a related field and a course subject matter comparison rather
the the current course to course comparison

As a solution to the language requirement concerns students who fulfilled a comparable
language/statistics requirement at another institution and ESL students should be
considered to have fulfilled the language requirement

As a solution to the issues with the statistics course the statistics course should have 2
objectives 1. To teach students to interpret statistical scholarly papers 2. To teach
students to conduct statistical tests using regression and AN()VA/MANOVA as well as
how to use statistical software There should be an application focus through a project
Not solution to current grievances but a process that needs to be implemented AGSA
needs to be fully engaged in planning New Student Orientation. We would go above and
beyond the current NSO to fully welcome new students into the department and the city
of Milwaukee.

We look forward to working with you to resolve this issues

Thank you,
Concerned Graduate Students

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APPENDIX 2

Sommers/Winkler Correspondence

----- Original l\/lessage---~-

From: Jeffrey W Sommers

Sent: Tuesday, August 18, 2015 2:16 PM
To: Erin N Winkler

Cc: Patrick Delices

Subject: Patrick Delices coursework

Hi Erin,

Question regarding fall semester for Patrick Delices (who is cc’d in this email). He needs to take 8 or 9
credits to maintain his AOP, but he has fulfilled his course requirements for our program.

Ouestion: can he take 3 credits of Africology 325 and then 3 of 799 for Prelim prep and another 3 of 799
for Doctoral Dissertation Prospectus prep for a total of 9?

He intends to take his prelim in January.
Regards,

Jeff

From: Erin N Winkler

Date: lVlon, Aug 24, 2015 at 3:51 PM
Subject: RE: Patrick Delices coursework
To: Jeffrey W Sommers

Cc: Patrick Delices <Qde|ices@gmai|.com>

Dear Jeff,

l,.don't think the two different 7995 should be a problem, but they would have to be with different faculty
(a student cannot sign up for the same course twice in one semester, which your section of 799 would
be). Also, there would have to be 799 paperwork for each justifying the 3 credits, so there would have
to be documentation that each would require 3 credit hours' worth of work for the Fall 2015 semester.
Alternately, one of the 7993 could be taken for only two credits.

lt seems like it would make the most sense for another member of the dissertation committee to be the
instructor of record on one of the 799s.

l hope this helps,
Erin

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APPENDIX 3
PATRICK DELICES

OCR COMPLAINT

2/29/16

 

I. Summary & Legal Standards Review

The actions of the University of Wisconsin-Milwaukee (UWM) against me resulted in unlawful
discrimination based on race in two ways First, I was subject to differential treatment based on
my race and its inextricable link to my political and community affiliations as evidenced by the
retaliatory actions of arbitrary modification of the preliminary exam requirements (question,
bibliography, and an administration date) along with the rescinding of the Advance Opportunity
Program (AOP) fellowship for the 2016-2017 academic year. Second, UWM's lack of clarity in
addition to the absence of due process has a disparate impact upon the student body within the
Department of Africology, which is primarily compromised of minority students

As such, this disproportionate impact upon me comes from the arbitrary investigations of vague
and irrelevant allegations along with the conclusory manner of the resulting investigations
without offering me a full hearing or vetting the merit of any claims against me. Taken together,
the University's actions likely have had an unjustified impact upon me, and likely upon other
predominantly minority race students in the Department of Africology at UWM. Therefore, an
OCR investigation is necessary to determine the extent of the impact upon this protected class,
and to compel the University to publish a clear disciplinary code, process and procedure for any
student alleged to have a violated a regulation, policy, or procedure

Dijj‘erent Treatment

Particularly relevant to my complaint is (according to OCR’s website ~ http://www2.ed.gov,
including, but not limited to), a compliance resolution letter from Sun Prairie School District,
WI, (Re: OCR Case #05-11-5003) which states the following:

Title VI prohibits schools from intentionally treating students differently based on

race Enforcement of a rule or application in a discriminatory manner is prohibited
intentional discrimination When similarly-situated students of different races are treated
differently, OCR assesses the recipient’s explanation for the differences in treatment to
determine if the reasons were legitimate and nondiscriminatory, or were a pretext for
unlawful discrimination Additionally, OCR examines whether the recipient treated a
student in a manner that was inconsistent with its established policies and procedures or
whether there is any other evidence of race discrimination

Intentional discrimination in the pre-referral, referral, evaluation, and placement of
students in special education can take many forms, however, and can be proven even

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without the existence of a similarly~situated student Additionally, a school’s adoption of
a facially-neutral policy with an invidious intent to target certain races is prohibited
intentional discrimination

Whether OCR finds a violation of Title VI will be based on the facts and circumstances
surrounding the particular situation

l argue that the present situation is a violation of my civil rights based upon my race and national
origin in that these identities are central to the political and racial community affiliations
questioned by Dr. Anika Wilson during an investigation interview. Further, the investigations
themselves and the preliminary exam modification and result were retaliatory actions against me
for the aforementioned affiliations and for sharing grievances that UWM'S Department of
Africology discriminates in its student employment practices based upon sex/ gender in that
department l

 

1 As a Black (Haitian-American) male doctoral student with considerable higher education teaching experience I
inquired about teaching a course within the Department of Africology in 2014 and 2015 where the current and
former chairpersons (both women) were made aware of my desire to teach at UWM’s Department of Afrcicology. lt
has been my understanding that UWM (Department of Africology) does not have a formal, transparent process for
submission of teaching applications for PhD candidates Instead, recruitment and hiring are completed by faculty
behind closed doorsl By late 2015, it became clear to me that UWM’s Department of Africology exhibits a pattern
ofhiring predominantly Black female doctoral students to teach courses in africology. The Black male doctoral
students are relegated to serving as teaching assistants (TAs). Currently, there are l l doctoral students in africology:
three Black male students one White male student; and seven Black female students My understanding is that five
out of the seven Black female students were selected to teach courses in africology, while the Black male students
were merely offered teaching assistantships. This pattern continues despite any differences or similarities in Per
candidates experience level and qualifications General information about UWM’s Africology PhD candidates is
available to the general public on the departments website. My personal example is that l have never been offered a
position or perhaps more importantly, a reason for denial of my candidacy l am aware that the women who hold the
coveted positions do not hold experience and qualifications equal to mine, including over seven years teaching
Black Studies at the undergraduate level at Hunter College of the City University of New York in addition to
substantial experience in university settings including serving as a research fellow at Columbia University and as a
career services professional at multiple institutions As recently as around July of 2015, I verbally expressed my
concern regarding this gender disparity in teaching within the Africology Department at UWM to the faculty
member assigned as my advisor, Dr. Jeffrey Sommers l articulated my continued desire to obtain a doctoral
taeching position and Dr. Sommers requested that l provide him my curriculum vitae for the department's
consideration Shortly after I provided a current copy of my curriculum vitae, I learned that a person in which UWM
officials would only identity as a “whistleblower” provided false and inaccurate information about my employment
status and professional designation At no time did any UWM official contact me regarding the status of my
candidacy for a teaching position.Title VI of the Civil Rights Act applies to employment cases and discrimination
based upon sex, gender, race or national origin The discriminatory practice here results in the students at UWM
being harmed in that interested Black males are not provided the opportunity to obtain teaching positions available
to their female counterparts It is arguable that the students are also harmed by sitting through inferior instruction
when a department fails to hire the most qualified applicant to teach a particular course Without a transparent
recruitment practice open to all qualified individuals it is impossible for the University and interested parties such
as your office to guarantee that the Department of Africology fairly evaluates all doctoral students/candidates
without automatic exclusion based upon an individual's sex/gender, Therefore, I ask that your office to compel
UWM to disable and cease the practice of covert selection of female doctoral students to teach courses in africology
and replace it with fair and open recruitment and hiring policies and procedures in order to safeguard equal
protection access and opportunity under the law.

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Disparate Impact

According to OCR’s website, “in addition to different treatment of students based on race,
schools violate Federal law when they evenhandedly implement facially neutral policies or
practices that were not adopted in order to discriminate but their implementation nonetheless has
an unjustified effect of discriminating against students on the basis of race. The resulting
discriminatory effect is commonly referred to as “disparate impact.” Moreover, OCR’s website
states the following:

Facially neutral pre-referral, referral, evaluation and placement policies that result in an
adverse impact on students of a particular race will be evaluated against the disparate
impact standard to ensure that they are not discriminatory In examining the application
of a facially neutral policy, OCR will consider whether the policy results in an adverse
impact on students of a particular race as compared with students of other races; whether
the applicable policy is necessary to meet an important educational goal; and even in
situations where the policy is necessary to meet an important educational goal, whether
there are comparably effective alternative policies available that would meet the stated
educational goal with less of a burden or adverse impact on the disproportionately
affected racial group or the proffered justification is a pretext for discrimination

Due to the actions of UWM, l arn unable to provide further evidence of any disparate impact
upon other students (I believe the negative impact upon me is clearly established by the

facts). The actions I refer to include UWM's failure to provide me with the opportunity to seek a
full hearing regarding the allegations against me and the refusal to provide all the materials
UWM gathered to use as evidence against me. Therefore, such a lack of information prevented
me from being able to adduce facts favorable to me that contradict UWM's claims including the
chance for rne to try to gather third party documents pose clarification questions to UWM's
agents and employees and to then access and compare the University's determination in my case
to those of any similarly situated students to see if I was treated similarly to students who were
similarly situated to me

Upon review of the attached information and its own investigation l urge OCR to hold UWM
accountable to rectify the agency's practice of blatantly violating students' rights when it benefits
the University and its faculty or staff. I urge OCR to conclude that failure of a state-run public
university should not be able to make an end run around its obligation to comply with the Civil
Rights Act by issuing conclusory decrees in the face of contradictory evidence which allows for
limited, if any, comparison between student’s cases and to be able to determine if the University
acts in any consistent manner. I argue UWM's admitted lack of policy for allegations and
investigations such as those undertaken here should not serve as a justification to deny an inquiry
into whether or not their actions were applied in a discriminatory manner, where there is a
colorable claim that race was a factor in the differential treatment taken against me by the
University,

At the least, I ask OCR to compel UWM to provide a reasonable basis for its actions against me;
to identify the whistleblower; and provide me an unbiased forum to complete my dissertation in

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furtherance of obtaining my PhD. To protect the civil rights of the other current and future
students I ask that UWM be required to implement and adhere to clear policies regarding
disciplinary codes; require staff to undergo civil rights and implicit bias training; advise students
of their right to a hearing should allegations be made against them; provide the student with all
information the University gathered about the student in advance of the hearing; and allow for
third party review.

II Preliminary Exam & Retaliation:

I was admitted to UWM in the fall of 2013 as a doctoral student in africology. My assigned
doctoral advisor was Dr. Nolan Kopkin. Later, by the spring of 2014, the professor designated as
my advisor was Dr. Jeffrey Sommers who immediately sought my expertise with a book about
Haiti in which he needed assistance completing to be able to have it published In exchange for
my expertise and “co*authorship” (contributions), Dr. Sommers wanted me to edit his work,
including adding and updating facts and arguments and write “chapters,” (introduction and
epilogue). I agreed to assist with the book, and began contributing under the assumption that the
work on the book would not interfere with my progress towards the PhD.

B y the spring of 2015 , l completed sufficient coursework to be considered disserter status and
requested to sit for my preliminary examination By June 28, 2015, Dr. Sommers approved my
request to take the preliminary exam, confirmed a bibliography for the exam of about 55 books
on Haiti, and sent me the exam question The topic was essentially the history and political
economy of Haiti from colonialism to independence to Haiti’s present state (See Exhibit 1)
which basically related to the book “chapters” (introduction and epilogue) that I wrote for the
book.

At that time, Dr. Sommers did not provide a date to sit for the exam, which is required prior to
the test's commencement Throughout the summer of 2015 , I repeatedly spoke with Dr. Sommers
and requested a preliminary exam date Instead, Dr. Sommers steered the conversation to the
completion of the work for the book. (It is worth noting that it was during this summer that I
submitted my curriculum vitae to Dr. Sommers and discussed gender disparity regarding
teaching courses in africology). As Dr. Sommers was my academic advisor with discretionary
power over approval of my disserter status I felt compelled to complete the extracurricular work
for the book without complaint,

B y the fall of 2015 , Dr. Sommers still had not provided me with a preliminary exam date.
Instead, he inexplicably changed the topic of the preliminary exam to include theories of
imperialism and added a second bibliography - this one on imperialism. Dr. Sommers also
changed sporadically the selected documents (the two bibliographies on numerous occasions as
late as December of 2015 - take note that my prelim exam was in January 4, 2016). The number
of publications ultimately selected for me ballooned from about 55 in June of 2015 to 117 by
December of 2015, My understanding after conversations with other students is that other
doctoral students in the program with approved bibliographies were required to review about 30 -
40 publications and had one bibliography not two. The vast difference in approved bibliography
lengths and the timing of the bibliography and topic modification support my belief that these

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actions were taken in retaliation against me, to assure UWM would be able to claim I failed the
resultant examination

Finally, in January 4, 2016, I was afforded the opportunity to take my prelim and submit the
exam within a week. Dr. Sommers issued a failing grade on the exam and wrote “passing this
prelim exam will take much work (reading or re-reading) in order to better see the intersection
between Haiti’s development through the prism of theories of economic development and
imperialism. l have to be honest and state that it will be a steep climb to gain mastery, or even
general competence, of these topics.” (See Exhibit 2). Dr. Sommers’ email failed to mention that
the incorporation of the theories of economic development was not part of the exam preparation
- Dr. Sommers did not request for me to focus on the theories of economic development for this
preliminary exam and interestingly, the other two committee members (Drs. George Bargainer
and Harwood McClerking) were not copied on his exam question (See Exhibit 3).

To date, no other committee members (Drs. George Bargainer and Harwood McClerking)
offered any feedback regarding this exam. l\/Iy understanding is that it is highly unusual for
committee members to remain silent regarding their opinion of such an important examination
for if a student “so clearly missed the mark,” professors generally offer tips to improve the
quality of the student’s work. Finally, the language of the email quoted is chilling and shows a
predisposition of Dr. Sommers to fail me, regardless of the quality of any future work submitted
It must be noted that the exam reflected the work that l have completed in writing the
introduction and conclusion of the book with Dr. Sommers that was published by November
2015. If I am good enough to “co~author” (contribute) to a book with Dr. Sommers, l am good
enough to pass the preliminary exam. As such, the result of the exam should be considered
invalid and passing by default l\/Ioreover, UWM should be required to offer completion of
future examinations and writing by an impartial party.

III. AOP Fellowship Denial for 2016-2017 Academic Year is Retaliation

In August, 2015 , UWM sent me a letter stating my federally funded AOP fellowship of $15,000
per academic year was being rescinded because a “whistleblower” advised UWM officials that I
was employed at 4T's, a non-profit in NYC (See Exhibit 4). UWM officials stated that part of the
basis for their belief that l was working in NYC was a posting on a website for 4Ts where the
employer failed to update to reflect that I moved on from a position Iheld there many years ago.
Upon my provision of proof including a signed, notarized letter from the founder/alleged
employer - 4Ts (See Exhibit 5), UWM reinstituted the fellowship for the 2015-2016 academic
year (See Exhibit 6).

On December 18, 2015, 1 requested for Dr. Sommers to approve my renewal of the AOP
Fellowship. And he replied, “I discussed the AOP issue with our graduate faculty. Given the
problems that surfaced this past year, it was decided another year’s AOP support can’t be
tendered” (See Exhibit 7). I question how this decision was made, and who determined what
“problems” warranted the termination As part of my AOP Fellowship defense, I reminded

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UWM that I cannot control third party websites or when they update them, and Dean Marija
Gajdardziska-Josifovska of UWM wrote “I agree with your statements about web pages” (See
Exhibit 8).

The rescission of the AOP fellowship for 2016¢2017 is retaliatory as UWM's graduate school
elected reinstatement for 2015-2016 after I successfully rebutted an unfounded, erroneous
allegation that I was employed at the relevant time period, and where nearly all the information
discussed during the misconduct/misrepresentation investigation was readily available for
review.

Further evidence of retaliation and differential treatment are UWM's decisions to investigate me
in the first place During the AOP investigation l told Dr. Sommers that l was NOT working in
New York, but that l knew of a few other students who were working in violation of the terms of
their fellowship, Therefore, UWM is aware of other students violating the terms of their
fellowship, However, it elects not to pursue an investigation If the word of a “whistleblower” is
enough to investigate me, why is my word not enough to investigate the other students? l urge
OCR to hold UWM to task for selectively enforcing violations of stipulations placed upon
publicly funded fellowships, particularly in this situation where there is a substantial likelihood
the decision was made based upon my race and national origin

IV. Professional Misconduct/Misrepresentation: Investigations as Differential Treatment
and Lack of Due Process.

ln November 2015, after I defeated the allegation that l was working in violation of my AOP
fellowship, UWM advised me that l was being investigated for “professional misconduct” or
“professional misrepresentation.” According to UWM, the University elected to form a
committee to investigate me after hearing from a “whistleblower” at issue before that l am
referred to as a “Dr.” or “professor” on the Internet. During the investigation UWM invited me
to an investigation interview where l spoke with Dr. Anika Wilson

During our interview, I specifically asked Dr. Wilson what UWM policy I stood accused of
violating and what laws I allegedly obstructed - Dr. Wilson identified none In fact, the school
conceded that there is “no prescribed policy” on “professional misconduct” or “professional
misrepresentation” (See Exhibit 9). Moreover, Dr. Wilson failed to articulate the University's
definition of “professional misconduct” or “professional misrepresentation.” However, the
university determined that my “behavior” fell within UWS 17.9.11. This regulation pertains to
those who have made a false oral or written statement to an agent or employee of UWM
regarding a university matter or refused to comply with a “reasonable request” regarding a
university matter (See Exhibit 9).

As evidence of this vague “misconduct,” UWM codified publicly available websites including
articles published online and references about me on social media websites and used these
websites/articles to create a “Patrick Delices’ Misrepresentation File” (See Exhibit 10). Again, as
part of my defense, l reminded Dr. Wilson that Icannot control third party websites and what
they say ~ Dean Marija Gajdardziska¢Josifovska of UWM wrote “l agree with your statements
about web pages” (See Exhibit 8).

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Many of the websites list contradictory or slightly incorrect information - none referenced me as
a professor at UWM. The sites often list the academic degrees learned from Columbia
University - School of lnternational and Public Affairs and Teacher's College; NYU Stern
School of Business; my previous work as a research fellow with Manning Marable; work as an
adjunct professor at Hunter College; or refer to other articles l've written and occasionally
conflated different aspects of my background Few, if any, third party websites erroneously state
that l hold a PhD or refer to me as Dr. Delices

However, there are a fair number of sites where l am referred to as “professor.” l taught
undergraduate courses within the City University of New York, where schools such as Hunter
College use the term “adjunct professor” to describe part-time instructors Third party sites often
run with “Professor Delices” as outside academic circles, and particularly in urban environments
with dense foreign born populations where many people do not have the privilege of having
multiple graduate and undergraduate degrees and university exposure to the American system
where it is exceedingly common for members of the public to refer to anyone teaching at the
collegiate level as “professor.” lt is unreasonable to expect members of the general public to
verse themselves in the intricacies of academic parlance, and in fact, dictionary definitions are
being changed to reflect broad usage of the term professor. ln no way does failure to chastise
third parties for adopting this usage of professor equates to me, or any other current or former
adjunct, holding out as having achieved a specific academic rank.

For clarification before and during my time at UWM, l submitted written articles to the New
York Amsterdam News, Black Star News, and other publications Most of my writings deal with
Black politics race, systemic reformation systemic oppression and economic, political, and
socio-cultural exploitation inside and outside the United States During the investigation
interview, Dr. Wilson questioned me about my political affiliation and social relationship with
various media outlets and political organizations such as the Fz`nal Call, Nation oflslam, Instimte
of the Black Worla', and Legacy of 1804 ~ these particular organizations deal with economic,
political, and cultural issues involving race, gender, religion racism, colonialism, and
oppression Thus, my politics on race, gender, and religion in addition to my political association
with certain racial political groups became a topic of conversation during the interview.

l asked why my affiliation with these particular organizations was an issue in this discussion as
they and their representatives are not UWM officials lt is of note that my affiliation with any
groups outside academia that didn't reference race and racial politics was not discussed l
expressed my discomfort to Dr. Wilson regarding the interview and investigation process and
procedure as the area of inquiry narrowed down to target my political affiliation with
organizations that centered around racial and gender politics To the point, l referenced myself to
Dr. Wilson as being akin to the Trayvon Martin of UWM ~ unnecessarily targeted because of my
race, gender, and age - subject to investigation by parties with no legitimate authority over me
and my First Amendment rights and interest in my activities for precisely those reasons Of note
was the absence of inquiry regarding affiliations with any groups where race and sex/ gender are
not at issue, including past participation in alumni events and organizations at NYU-Stern and
Columbia University,

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lt is also alleged that l referred “misrepresented” myself to obtain desk copies of a book in

2015. In terms of the desk copy, l informed Dr. Winkler via email that it was a misunderstanding
- l gave the publisher Dr. Winkler"s email in hopes of confirming the fact that l am a doctoral
student and a former teacher's assistant at UWM in need of a book for research purposes

ln evaluating whether or not this investigation is resultant determination violates the Civil Rights
Act, it is relevant that Dr. Wilson indicated that she also interviewed Dr. Sommers, l vehemently
reject the Committee's assertion that Dr. Sommers “warned” me about “professional
misrepresentation” or “professional misconduct” during the spring of 2015. As a matter of fact,
the editor of Lexington Books referred to me as “Dr. Delices” in a contract letter to Dr.
Sommers, (See Exhibit ll). Dr. Sommers did not correct the publisher, though here the
University's interests are at issue since UWM is named in the publication

The fact that l was investigated as a student for the same behavior exhibited by Dr. Sommers is
clear evidence of differential treatment lt is egregious that this professor is also my advisor, and
yet as the investigated student, l sit subject to disciplinary action determined in large part by
UWM's reliance upon the unsubstantiated word of the same professor. Had l been afforded a full
hearing, l would have brought out the University’s inconsistency: Here, the University does
NOT hold Dr. Sommers accountable for failing to correct a publisher's erroneous declaration of
me as “Dr.” for a book clearly attributable to UWM ~ yet, holds me liable as a student for third
party statements where UWM is not even mentioned

V. Conclusion:

lt is my contention that the manipulation of the preliminary exam, its result and the "professional
misconduct" conclusory determination violated my rights pursuant to Title Vl, as my status as a
Black Haitian American with political affiliations described above informed the actions of the
University and its agents l ask that OCR find that UWM took the above actions against me
because of my race, national origin gender, age, racial political affiliations and racial political
writings that are inextricably informed these immutable characteristics And to the extent that
such consideration is appropriate here, l ask OCR to consider that the initial investigations and
actions taken thereafter stem in part from retaliation against me for expressing concern over the
sex/gender disparity in the Africology Department's employment of solely doctoral female
student to teach courses in africology.

At a bare minimum, I seek that OCR conduct a fair hearing presided over by an impartial
decision maker where the University would be required to prove its allegations against me in
accordance with basic due process requirements This includes a clear description of the
allegations full disclosure of any material they collected regarding me in advance of a hearing;
the opportunity to seek clarification of any interviews of third parties including the
whistleblower and the University’s professors and the ability to question the entities responsible
for electing to pursue the allegations of professional misconduct and the initial AOP
investigation against me. Given the retaliatory, hostile, and chilling environment at UWM’s
Department of Africology (See Exhibits 7 &12), l also seek, without taking additional courses
and exams from OCR and the University my immediate transfer to a PhD program at University

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9

of Wisconsin-Madison, or alternative unbiased department at UWM for the fair evaluation of the
dissertation that l plan to complete towards consideration of attaining doctorate

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APPENDIX 4

EDS 16-0111 a-e with Exhibits

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UNlVERSITYoleSCONSIN

WM|LWA"KEE Global Inclusion and Engagement

 

o OjYz`ce of Equity/Dive)'sity Serviees

To: E;`m Winkler fAfr_ l Mitchell Hall, Room 359
C arr, Department 0 rco ogy p~O. BOX 413

From: Nelida Cortes@ I;;l;`(;'?:'(l;::’gwl
Interim Direct , ff`rce of Equity/Diversity Serviees

(414) 229-5923 phone
(414) 229-5592 fax
www.diversity.uwm.edu
diverse@uwm.edu

Date: May 2, 2016

RE: NOTICE - Discrimination Complaint

 

Complaint #: 16-011 (A) Complainant: Patrick Delices
Respondent(s): Erin Winkler

 

 

 

 

 

 

This memorandum is to formally advise you that the Off`rce of Equity/Diversity Serviees (EDS) has
received a complaint from Patrick Delices The complaint alleges that you have subjected him to
discrimination based on race, color, ancestry, sex, gender, national origin age, political affiliation
and retaliation

This complaint is being processed in accordance with the University of Wisconsin-Milwaukee’s
Discriminatory Conduct Policy (lncluding Sexual Harassment and Violence) No: S~47. As is stated
in the Policy, EDS may negotiate a resolution of a complaint and is willing to assist the parties in this
process Please contact our office if you would like to discuss this option in more detail. ln the
meantime EDS will begin its investigation of this complaint A member of the EDS staff will
contact you during our investigation to schedule an interview in order to elicit your response to the
allegations noted in the complaint

The Policy provides that “[a]ll individuals involved in the investigation and resolution of a complaint
are expected to maintain the confidentiality of the complaint and resolution to the maximum extent
possible under the circumstances Certain disclosures however, may be necessary to complete the
investigation and/or resolution of the matter.” As such, you should not discuss these allegations with
colleagues or other third parties

ln addition the Policy also prohibits retaliation against the individuals who engage in protected
activities including filing complaints or participating as a witness in the investigation During the
course of this investigation it is critically important that you avoid any conduct that would be
inappropriate or harassing, and any conduct that could appear to be retaliatory, lf you have any
questions about this directive please feel free to contact me

Consistent with the Policy, a copy of the complaint is enclosed. Please let me know if you have any
questions

cc Patrick Delices Complainant
Rodney Swain, Dean for the College of Letters and Sciences
loan M. Prince, Vice Chancellor for Global lnclusion and Engagement
Rob Smith, Associate Vice Chancellor for Global lnclusion and Engagement
Johannes Britz, Provost and Vice Chancellor for Academic Affairs

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Q§N_E_RALVINFORMATION: v
Nam__e of Complainant Patrick Delices g
Complainant Horne Address: 948 Longwood Avenue ~ Bronx, New York 10459

 

 

 

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University Status: Student Staff Faculty cher

 

 

Name of Respondent(s): Erin Winkler (chairperson/faculty), Anika Wilson (faculty), Nolan Kopkin
(faculty), Daniel McClure (faculty), and Jeffrey Sommers (doctoral advisor/faculty), and lohn Doe (“thc
whistle-blower”). It must be noted that John Doe‘s relationship to me is unknown as the “whistle-
blower”

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Respondent’s (_j_agpus Address: Department of Africology ~ University of Wisconsin-Milwaukee -
Mitchell Hall 225 _ 3203 N . DownerAvenue - Milwaukee, Wl 53211

 

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winklere@uwm.edu,
Phone #: Erin Winkler awlls_On@qu`edu'
414-229-5080 /Anrr<a wilson _ kople @qu-edu'
414229-2889/1\1<>1;\“ Kopkin - mcclured@uwm.edu, and O[her phone /;;
414-229-415$/Daniel McClurc~ Sommer-W@uwm edu
414~2294155 / Jeffrey Sommers - j `
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ljniver'sity Status: StudentStaff Faculty

Relatlonship to the*C'ornplai_nant_:r tiaculty ,mem,berjs_rin the Department of Africology,

 

 

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VHABA§S*MENT See Prevrous Attached Document.

 

INCIDENT INVOLVED: (Please check the following that apply)
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M'l“`erms and/or Conditions of Education Student Programs
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COMPLAINT:

Have you filed a discrimination or appeal with another university department union or state or federal
agencny YES` g ~NQ '; If ya£,_ please slater/re name of the agency and date filed:

ACLU ~ 12/30/2015; OCR ,-,1/29/2916.;@139€: 3/18/2016`

 

 

 

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PLEASE DESCRIBE YOUR COMPLAINT: (Ifyon run out of space, please complete on the back of
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l am complaining about age, race, national origin, and sex discrimination and adverse actions of the
following individuals and collective: Erin Winkler,Anika Wilson, Nolan Kopkin, Daniel McClure,
Jeffrey Sommers, and John Doe (the “whistle-blower”). They committed various forms of adverse and
discriminatory actions against me including lack of equal opportunity (gender and age bias/
discrimination) in the hiring practices of doctoral students as teachers as illustrated by Dr. Winkler; false,
bias, and defaming charges of professional misrepresentation/misconduct as illustrated by Drs. Wilson,
Kopkin, and McClure; disparate treatment and manipulation of my prelim exam question, bibliography,
and evaluation by Dr. Sommers to hide his national origin discrimination and black racial/political bias;
making the prelim exam testing process more burdensome and adverse in comparison to other students
as illustrated by Dr. Sommers; dissuading me from doing academic work (dissertation) regarding my
national origin of Haiti as illustrated by Dr. Sommers; disparate and unfair treatment based on my
national origin and racial political views by Dr. Sommers as he is obstructing me from reaching disserter
status and completing my doctorate in africology; abuse of power/authority by Dr. Sommers by using
my race and national origin and expertise on Haiti to publish a book on Haiti and only to fail me on my
prelim exam on Haiti; denial of my AOP fellowship by Dr. Sommers and what he stated, but did not
identify as the “faculty committee;” ignoring and belittling my complaint of discrimination by not
forwarding/recommending it to the Offrce of Equity/Diversity Serviees as illustrated by Drs. Sommers,
Wilson, and McClure; recommended unconditional censure of my FirstAmendment rights which also
violated my civil rights by not only questioning/interrogating me about my involvement with certain
black political organizations and using such an affiliation to falsely accuse me of professional
misrepresentation/misconduct as illustrated by Dr. Anika Wilson. Erin Vlhnkler, Anika Wilson, Nolan
Kopkin, Daniel McClure, Jeffrey Sommers, and .lohn Doe (the “whistle-blower”) engaged in the
presumption of guilt (lacking integrity and being naive) in this adverse and chilling process as they
discriminated against me due to my age, national origin, sex/gender, race, and racial political views.
Thus, defaming me and creating a chilling, hostile, and adverse environment. ln all stages of the
investigation including the denial of my AOP fellowship, John Doe (the “whistle-blower”) has been
involved and all these parties listed above did not give me information about John Doe (the “\vhistle-
blower”) in order for me to defend myself. Moreover, the usc of the term “\vhistle~blower” makes this
discriminatory matter plausible because the “\vhistle-blower” does not deserve more protection and
rights than the one being investigated and accused - how does the “whistle-blower” have more rights and
protection than the one being accused? Nonetheless, in the previous attached pages, I have organized and
included a detail d¢,Sa;iPtiQii ,<.>f mrsi_>ii,iriaim, Wi,iil Siipp,@i'ii,iia sisaaa§at§faiiyailr reviewaaaitr§§aifsi,._$;i

 

 

 

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The discrimination complaint process has been explained to me and l have received a copy of the policy.
1 certify that the information given above is true and accurate to the best of my knowledge or belief The
ijice of Eqnitfy/Diversity Serviees has my permission to conduct pertinent inquires in regard to my
complaint and to use my name in such inquires.

 

4/29/2016

 

 

Signature of Claimant y |Dafe _

 

 

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Referred By: (Please check the following that apply) g g y

 

 

 

 

 

 

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PATRICK DELICES

DISCRIMINATION COMPLAINT

UNIVERSITY OF WISCONS]N~MILWAUKEE

OFFICE OF EQUITY/DIVERSITY SERVICES

4/18/16

 

As an 01der(0ver40 years of age) Haitian-American (black) male doctoral student at UWM, I
wanted to notify your office about the disparate treatment that I received from UWM’s
Department of Africology, The disparate treatment has been chilling and has had an adverse
impact on mc. Therefore, I am formerly complaining to the University about discrimination
based on race, national origin, sex, and age as exhibited by the Department of Africology. This
discrimination cumulated in four major ways: l) lack cf equal employment opportunity to teach
a ccurse; 2) the denial of my AOP fellowship (See Exhibit 4 and Exhibit 7); 3) unfair accusation
of “professional misrepresentation/rnisconduct" (See Exhibit 9); and 4) “failure” of the
preliminary examination (See Exhibit 3).

l am claiming that younger doctoral students, particularly black female students, have
preferential treatment regarding doctoral examinations and employment opportunities as
instructors within the Department of Africology,l l am also claiming that l was unfairly targeted
by the Department ofAfricology for the denial of my AOP fellowship and falsely accused of
“professicnal misrepresentation/misconduct" by the same department Moreover, I am claiming
that bias played a major role in my preliminary exam evaluation -

 

l Since 2013, I made repeated requests to teach a course in the Department of Africology. By
2015, I became aware that the female doctoral students who held the coveted teaching positions
do not hold professional experience and qualifications equal to my professional experience and
qualifications which include over seven years of experience teaching Black Studies at Hunter
College of the City University ofNew York; publishing; overseas travel and research in
Tanzania, Kenya, Egypt, Zanzibar, Algeria, Western Sahara’s refugee camps, South Korea,
Chlna, Spain, Chile, Brazil, Dominican Republlc, Cuba, and Haiti; serving as a research fellow
for the late Pulitzer Prize historian Manning Marable at Columbia University; and working as a
career services professional at numerous institutions of higher education Moreover, unlike any
other PhD student at the Department of Africology, l hold four graduate degrees (an MS.Ed., in
Education Administration and Supervision from the City College ofNew York; an EdM in
Higher Education Administration at Teachers College, Columbia University; an MBA in
Quantltative Fiuance, Business Law, and Global Business from New York University, Stern
School of Business; and an MPA in International Economic Policy and Management from
Columbia University, School of lnternational and Public Affairs).

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in November 2015, after I defeated the allegation that l was working in violation of my AOP
fellowship, UWM’s Department of Africology advised me that I Was being “investigated” for
“professional misconduct” and/or “professional misrepresentation.” According to UWM, the
University elected to form a committee to investigate me after hearing from a “Whistleblower” at
issue before that l am referred to as a “Dr.” or “professor” on the Internet. For the
“investigation,” UWM invited me to an “investigation interview” where l spoke with Dr. Anika
Wilson who headed the committee Dr. Nolan Kopkin and Dr. Daniel McClure were also
members of that committee It must be noted that during the interview, Dr. Wilson never
communicated to me the names of the other committee members Also, during the interview, Dr.
Wilson never communicated to me if the “whistleblower” was internal or external to the
University and/or the Department of Africology. Moreover, it must be noted that the use of the
term “whistleblower” by Dr. Wilson and her committee is not only inappropriate, but chilling -
especially given the fact that UWM’s aliegation of “professional misconduct” or “professional
misrepresentation” is not affiliated in any way to UWM.

During the “investigation interview,” I specifically asked Dr. Wilson, what UWM policy l stood
accused of violating and what laws l allegedly obstructed - Dr. Wilson identified none. ln fact,
Dr. Wilson and her committee conceded that there is “no prescribed policy” on “professional
misconduct” or “professional misrepresentation” (See Exhibit 9). Moreover, Dr. Wilson failed

to articulate the University's definition of “professional misconduct” or “professional
misrepresentation.” Dr. Wilson also did not provide me with a definition of professor and the
various rankings ofthe professoriate. Throughout the “investigation interview,” I told Dr. Wilson
that l felt uncomfortable with the entire “investigation” process and asked her repeatedly why l
am being singled out.

lt must be noted that age also played a major role in Dr. Wilson’s determination l am older than
Dr. Wilson and she discounted with bias my protracted academic and professional experience
As such, Dr. Wilson and her committee determined that my “behavior” fell within UWS 17.9.11.
This regulation pertains to those who have made “a false oral or written statement to an agent or
employee of UWM regarding a university matter” or “refused to comply with a ‘reasonable
request’ regarding a university matter” (See Exhibit 9). However, Dr. Wilson and her committee
never indicated specifically what “false oral or written statement” that l made to “an agent or
employee of UWM regarding a university matter” or in what manner have l refused to comply
with a “reasonable request” regarding a university matter - what was the university matter and
When did I refuse to comply?

As evidence of this vague “misconduct,” UWM codified publicly available websites including
articles published online and references about me on social media websites and used these
websites/articles to create a “Patrick Delices’ Misrepresentation File” (See Exhibit lO). Again, as
part of my defense, l reminded Dr. Wiison that l cannot control third party websites and what
they say _ Dean Marij a Gajdardzisl<a~]osifovsl<a of UWM Wrote “I agree with your statements
about web pages” (See Exhibit 8). Many of the Websites list contradictory or slightly incorrect
information ~ however, not one referenced me as a “Dr.” or “professor” at UWM.

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There are some websites where l am referred to as “professor.” l taught undergraduate courses
within the City University of New York, where schools such as Hunter College use the term
“adjunct professor” to describe professors of a particular ranking within the professoriate. Third
party sites often run with “Professor Delices” as outside academic circles, and particularly in
urban environments with dense foreign born populations, where many people do not have the
privilege of having multiple graduate and undergraduate degrees and university exposure to the
American system where it is exceedingly common for members of the public to refer to anyone
teaching at the collegiate level as “professor.” As a matter of fact, within my national
origin/racial cultural heritage, the Haitian Creole word for teacher (at any level) is pwofesé or
professezir in French -the English translation is professor. Please note that Haitian Creole is my
first language not English and my ancestors are from Haiti. As such, I have the cultural and
linguistic characteristics of my family’s national origin group from Haiti, ln spite of these facts,
with bias intent, I was unjustly labeled as “na'i've” (See Exhibit 9) by Dr. Anika Wilson and her
committee due to their discrimination and lack of consideration regarding my national
origin/racial cultural heritage Nonetheless, it is unreasonable to expect members of the general
public to verse themselves in the intricacies of academic parlance, and in fact, dictionary
definitions are being changed to reflect broad usage of the term professor. ln no way does failure
to chastise third parties for adopting this usage of professor equates to me, or any other current or
former adjunct, holding out as having achieved a specific academic rank.

Por clarification, before and during my time at UWl\/I,`I submitted written articles to the New
York Amsz‘e)'dam News, Black Star News, and other publications Most of my writings deal with
Black politics, race, systemic reforrnation, systemic oppression, and economic, political, and
Socio~cultural exploitation inside and outside the United States. During the “investigation
interview,” Dr. Wilson questioned me about my political affiliation and social relationship with
various media outlets and political organizations such as the Final Call, Nation of Islam, Instituz‘e
of the Black World, and Legacy 0f]804 - these particular organizations deal with economic,
political, and cultural issues involving race, sex/gender, religion, racism, colonialism, and
oppression. Thus, my politics on race, sex/gender, and religion in addition to my political
association with certain racial political groups became a topic of conversation during “the
interview.”

l asked why my affiliation with these particular organizations was an issue in this “interview” as
they and their representatives are not UWM officials lt is of note that my affiliation with any
groups outside academia that didn't reference race and racial/sexual politics was not discussed I
expressed my discomfort to Dr. Wilson regarding “the interview” and “investigation” as the area
of inquiry narrowed down to target my political affiliation With organizations that centered
around racial and gender politics To the point, I referenced myself to Dr. Wilson as being akin
to the “Trayvon Martin” of UWM ~ unnecessarily targeted because of my race, gender, and age ~
subject to investigation by parties With no legitimate authority over me and my First Amendment
and civil rights, and interest in my activities for precisely those reasons. Of note was the absence
of inquiry regarding affiliations with any groups Where race and sex/gender are not at issue,
including past participation in alumni events and organizations at NYU-Stern and Columbia
University.

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lt is also alleged that I “rnisrepresented” myself to obtain desk copies of a book in 2015. In terms
of the desk copy, I informed Dr. Winkler via email that it was a misunderstanding - I gave the
publisher Dr. Winkler’s email iri hopes of confirming the fact that I am a doctoral student and a
former teacher's assistant at UWM in need of a book for research purposes

in evaluating whether or not this “investigation” is resultant determination violates the Civil
Rights Act, it is relevant that Dr. Wilson indicated (on paper, but not during the “investigation
interview”) that she “interviewed” Dr. Sommers, I vehemently reject the committee's assertion
that Dr. Sommers “warned” me about “professionai misrepresentation” or “professional
misconduc ” during the spring of 20l5. As a matter of fact, the editor of Lexington Books
referred to me as “Dr. Delices” in a contract letter to Dr. Sommers, (See Exhibit l l). Dr.
Sommers did not correct the publisher, though here the University's interests are at issue since
UWM is named in the publication

The fact that l was “investigated” as a student for the same behavior exhibited by Dr. Sommers is
clear evidence of differential treatment It is egregious that this professor is also my advisor, and
yet as the investigated student, l sit subject to disciplinary action determined in large part by
UWM's reliance upon the unsubstantiated word of the same professor ~ had l been afforded a full
hearing, l would have brought out the University’s inconsistency As such, the University does
not hold Dr. Sommers accountable for failing to correct a publisher's erroneous declaration of me
as “Dr.” for a book clearly attributable to UWM ~ yet, holds me liable as a student for third party
statements Where UWM is not even mentioned Moreover, it must be noted that Dr. Wilson and
her committee never provided evidence where l “purposefully” and “professionaily
misrepresented” myself on my Linkedln page - they and/or the “whistleblower” simply used
social not professional media websites and third party online sources which are often unreliable
and error~prone. As such, Dr. Wilson’s role in this “investigation” is concerning because it is not
clear if she is trained in investigatory procedures and/or discriminatory matters, especially given
the fact that I had concerns about discrimination in addition to concerns about the “investigation”
and “interview” process l expressed these concerns to Drs. Wilson, Sommers, and McClure and
they never referred me to UWM’s Office of Equity/Diversity Serviees. As a matter of fact, Dr.
McClure referred me to Dr. Sommers The role of Dr. Wilson and her committee in addition to
the role of Dr. Sommers would have reasonable dissuaded a student from complaining about
discrimination Therefore, the entire “investigation” and “interview” processes were not only
arbitrary and capricious, but chilling and discriminatory As such, the file and charge cf
“professional misrepresentation/rnisconduct” should be abrogated

Imrnediately after being accused (falsely, unj ustly, and without due process) of “professional
rnisrepresentation/misconduct” on November 24, 2015, my request for the renewal of my AOP
fellowship was denied for 20!6~2017 by my doctoral advisor, Dr. Jeffrey Sommers (See Exhibit
7). Moreover, after the denial of my AOP fellowship, Dr. Sommers who also chaired the
committee for my preliminary examination failed me on this exam (See Exhibit 3), even though
in 2014-2015 Dr. Sommers secured my expertise and assistance in completing a book on Haiti,
the country of my ancestral origin. However, this discrimination manifested during the summer
of 2015 after I submitted to Dr. Sommers my website and curriculum vitae which allowed the
Department of Africology to deny me of my AOP fellowship and create a discriminatory profile
on me.

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Moreover, after the summer of2015, When the book (Race, Reality, and Realpolilik: U.S ~Haiz‘z'
Relatz`ons in the Leczd Up 10 the 1915 Occz¢pation) was set for a November 2015 publication date,
Dr. Sommers abruptly and unfairly altered the topic of my preliminary exam which Was strictly
on Haiti (See Exhibit l) to the theories of imperialism (See Exhibit 2). l disagreed With this
sudden change and voiced my concern to Dr. Sommers regarding this Sudden change, but he
insisted that l focus on the theories of imperialism. As a result, unlike other doctoral students in
the Department of Africology, the disparate treatment is illustrated by the fact that l had two
bibliographies: one on Haiti and the other on imperialism. Dr. Sommers kept changing the
bibliographies as late as December of 2015 ~ I Was scheduled to take the preliminary exam on
January 4, 2016 With a reading list of over 100 books lt must be noted that l requested
repeatedly to take the preliminary exam since the spring/summer of 2015 and at that time, only
one bibliography existed for the main topic of agreement which Was on Haiti not the theories of
imperialism.

Nonetheless, l never received a detail academic rubric and evaluation (grading system or grade
scale) of my academic performance on this exam (See Exhibit 3). Purthermore, l never received
feedback on my exam performance from the other committee members: Dr. George Bargainer
and Dr. Harwood McClerking (See Exhibit 3). The “grading process” for this exam is unusual
and the feedback from Dr. Sommers is questionable given the fact that the exam question that he
designed did not mention theories of economic development as a specific topic to be explored;
yet, Dr. Sommers oddly and unfairly based his evaluation of my exam performance on theories
of economic development and imperialism, but not Haiti (See Exhibit 3). Therefore, given these
discrepancies and differential treatment, this preliminary exam should be considered passing by
default

Being treated differently (unfairly and unequally) by the Department of Africology due to my
race, national origin, age, and sex/ gender degrades not only me, but UWM. lt also has the
potential to permanently damage my academic and professional career While placing me at a
disadvantage economically Within a competitive global market (See Exhibit 12). My complaints
are serious and these discriminatory factors have had an adverse and chilling impact on my
personal, professional, and academic life.

To resolve this unfortunate situation, l am seeking the following:

v An apology from the Chancellor’s Oftice at UWM regarding discriminatory treatment
and false allegations of “professional misrepresentation!misconduct."

0 Renewal of my AOP fellowship for 2016-2017 and 2017~2018.
v Overturn the preliminary exam and deemed it as passing by default
» Expunge the file and charge of “professional misrepresentation/misconduct” where my

name is clear of false allegations, such as “professional misconduct" and “professional
misrepresentation.”

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0 Equal compensation and proper recognition as a co"author to Race, Reality, and
Realpolitik: U.S.~Haiti Relations in the Leaa’ Up to the 1915 Occz¢pation published by
Lexington Books. lt must be noted due to the racialized power-based positionality, Dr.
Sommers abused his power and authority by listing me as a contributor not as a co-author
as he promised when we initially started the book project in 2014. Moreover, Dr.
Sommers changed the terms of remuneration abruptly as the book was set for publication
lt must be noted that I participated in the book project due to the control, influence, and
decision-making power Dr. Sommers exercised as a faculty member and my doctoral
advisor.

~ Disclose the “whistleblower” and recuse the “whistleblower” if he or she is internal to the
Department ofAfrciology or affiliated with UWM from any activity related to my
doctoral degree track and academic/professional pursuits.

¢ Secure a doctoral advisor in addition to a dissertation committee that has my best
academic and professional interest at heart.

o Affirmatively secure unbiased academic and professional references and
recommendations from faculty members at the Department of Africology.

¢ Safeguard non-retaliatory behavior and action by UWM and the Department of
Africology,

v Guarantee my successfully progress and completion of the doctoral program in africology
at UWM. lf not, secure my transfer to another department (preferably Political Science
or History) at UWM or an UW affiliated school.

0 Consider compensation for the unequal opportunity to teach in addition to other forms of
discriminatory conduct

By exercising discrimination, the conduct of UWM’s Department of Africology impairs and
tarnishes the traditional mission and historical, politicai, and cultural integrity of Black Studies
departments throughout the nation which were founded to overcome discrimination, eradicate
unequal treatment, and promote tolerance in spite of one’s race, national origin, sex/gender, age,
and political/cultural views. As such, given the spirit of your office and this nation, it is my
sincere hope that my complaints can be resolved in an amicable and auspicious manner. l look
forward to your response and resolution

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EXHIBIT l

from: Jeffrey W Sommers <sommerjw@uwm.eclu>
to: Patricl< Delices <pdelices@gmall.com>
date: Sun, Jun 28, 2015 at 1:36 PlVl
subject prelim
malled-by: uwm.edu
: important mainly because of the people in the conversation

iii Patrick,

Below is the question l have drafted for your prelim exam. Have shown PBS, Who much
likes it. Have to yet see if your committee Will be fine With it, which l think Will Work.

Question:

Provide a political economy (inter/trans-disciplinary) analysis of "Haiti's" signal
experiences from its encounter With Columbus, to its incorporation as France's colony of
Saint Domingue, to its liberation from France as Haiti, Continue your analysis by charting
the transformative events in Haiti’s development up to the present Your answer must
place this history in the context of forces global, regional and local in character. ln
partlcular, pay close heed to asymmetries in power. Detail big to small state relations, but
just as significantly class relations as economic and social structures evolve and shift on
both local and national levels. Race must also central factor into your analysis

Your Work must display an analysis that is both comprehensive in its coverage of the chief
theoretical paradigms for explaining the forces above. You must also detail the strengths
and weaknesses of the ‘schools of thought’ (debates) referenced Ensure you display a
command of the material from preliminary exam reading list, but while also being able to
expand beyond it.

Expect to write some 7-10k words on this question

Take care,

leff

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from: Patrick Delices
<pdelices@gmai|.com>

to: Jeffrey W Sommers
<sommerjw@uwm.edu>

date: Sun, Jun 28, 2015 at 2:37 Pl\/l
subject Re: prelim
mailed-by: gmail.com
: important according to our magic
sauce.

Great!

So, When should l get started? And what is the deadline for completion / submission?
As always, thank-youl

Hope all is well.

Best,

PD

Sent from my iPad

On jun 28, 2015, at 2:50 Pl\/l, jeffrey W Sommers <sommerjw@uwm.edu> wrote:
Start preparing rigt now. Will try get answers for you in the rest upon my return. Take care,

jeff

From: Patrick Delices <pdelices@gmail.com>
Date: Sunday, june 28, 2015

Subject: prelim

To: Jeffrey W Sommers <sommerjw@uwm.edu>
Understood!

PD

Sent from my iPhone

On jun 28, 2015, at 3:51 PM, jeffrey W Sommers <sommerjw@uwm.edu> wrote:

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Hi Patrick, this will really require a full-out effort all summer to complete by the end of
August. l designed the question in a way so that you can also get an article out of it or a
chapter for your dissertationl But, the bar is high here. You can do it, but will take much,
much reading

On ]un 28, 2015, at 10:25 PM, Patrick Delices <pdelices@grnail.com> Wrote:
Understood.

Thanks again.

PD

Sent from my iPad

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EXHIBIT 2

From: Jeffrey W Sommers

Sent: M.onday, January 04, 2016 5:l5:37 PM
To: Patrick Delices

Subject: Delices Prelim Exam

Hi Patrick,

Please find your prelim question below. Please confirm receipt of this email.
Regards,

Jeff

Prelim Question for Patrick Delices (2016)

Provide a political economy of Haiti’s histoiy, from French colony to present Your essay
should detail both specific events of central importance and long run processes through the prism
of theories of imperialism.

Rather than focus on one theoretical framework of imperialism, specify how Haiti’s history
(again, both specific events and long-run processes) Would be interpreted through the respective
approaches of theoreticians on your imperialism reading list. Your essay must avoid generalities
and engage specifics lt must demonstrate a command ofHaiti’s history and an ability to
compare and contrast different theoretical approaches for explaining it. Your essay must also be
informed by local, regional, hemispheric and global imperatives in play at different points in
time and how they acted upon Haiti, Also referencing how these extra~Haitian imperatives were
in part a reaction to events in Haiti.

While your exam should demonstrate command of the exam reading lists, it should also provide
a synthesis of them, where the sum is greater than its constituent parts

Your essay must be 6k (minimum) words iong, while striving to not exceed this word length.

lt has been emailed to you on January 4th and must be returned by the end ofJanuaiy llth.
Prelim Committee Members:

Jeffrey Sommers

Harwood McClerking
George Bargainer

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EXHIBIT 3

Froin: Jeffrey W Sommers

Scnt: Sunday, January 31, 20l6 2:36:()9 Pl\/l

To: Patricl< Delices

Cc: george bargainer; Harwood K l\/icclerl<ing; Anika Wilson; Erin N Winkler
Subject: prelim exam

Dcar Patrick,

l am returning your prelim exam with comments included (see margin comments and tracking at
encl). l was waiting for Dr. Bargainer to send written comments, but they have not arrived yet
Dr. McClerkin g merely said he agreed with my comments in full. As l referenced in our phone
call it \vas the view of all three committee members that the prelim exam was not passing
Passing this prelim exam will take much Work (reading or re-reading) in order to better see the
intersection between Haiti’s development through the prism of theories of economic
development and imperialism. l have to be honest and state that it Wi ll be a steep climb to gain
mastery, or even general competence, of these topics.

Piease confirm receipt of this email.

Regards_,

leff

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UNIVERSI'I`Yot'WISCONSIN

U"\M"-WA"KEE Graduate School

 

Mitchell Hal|

P.O. Box 340

Milwaukee, Wl

53201-0340
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August l9, 2015

Patrick Delices
948 Longwood Avenue
Bronx, NY 10459-5007

Dear Mr. Delices,

As an Advanced Opportunity Program (AOP) award recipient at the University of Wisconsin Milwaukee, you accepted
a requirement to limit your outside employment to a maximum of 10 hours per week. This requirement is meant to
support the success of promising students by ensuring that their attentions are fully devoted to their graduate studies. It
has been brought to our attention, however, that concurrent with the period of your AOP award, you have been
employed as the “Senior VP ot` Administration” at an organization called the “4T’s -Teaching Teens to Think" in New
York City. As of today’s date, you are listed in this capacity on the organization’s website, ht_tp://www.4ts.org[patrick-
deliccs.html.

Although you told us that your position was that of a volunteer, we received conflicting information in a recently
conducted employment verification with the 4T’s organization Information obtained in that verification indicates that
your position is paid, full-time, and year-round; that it requires at least 40 hours per week on an ongoing basis
throughout the academic year, and that you continue to be employed in this capacity. In your signed AOP acceptance
form dated March 17, 2014, and renewed on March 21, 2015, it states that failure to comply with AOP award
regulations, including concurrent employment limits, may result in the cancellation of your fellowship. Given the
information above, I am suspending your award renewal for academic year 2015-16, effective immediately. Unless you
can provide satisfactory information substantiating that you did not work greater than 10 hours per week within ten
working days of the date of this notification, your forthcoming award will be cancelled permanently. I am also
considering proceedings to pursue repayment of AOP monies awarded to you in the 2014-15 academic year.

You are welcome to contact me in writing at the mailing address above with any evidence you can provide in support of
your case. You are also welcome to make an appointment to present evidence and explanations directly in person. If you
wish to make an appointment, please contact Ellen Kowalcyzk, Executive Assistant to the Dean of the Graduate School,

via email, kowaicg_y@uwm.edu, or phone, 414-229-2937.

Sincerely,

Marija Gajdard:ka-Jos:yg%

Dean of the Graduate Sc col
Cc: Erin Winkler, Chair of Africology

Tracey Heatherington, Associate Dean of Graduate School
Wendy Labinski, Assistant Dean of Graduate School

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948 Longwoocl Avenue
Bronx, New York 10459

August 27, 2015

Marija Gajdardziska-Josifovska
Dean of Graduate School
University of Wisconsin Milwaukee
Oftice: Mitchell Hall 251

P.O. Box 340

Milwaukee, WI 53201-0340

Dear Dean Gajdardziska-Josifovska:

As a private U.S. citizen and a promising doctoral student at the University of Wisconsin-
Milwaukee (UWM), 1 understand how public information on the Internet could be misleading
and misread. Public information on the Intemet regarding a profile of a private citizen is
customarily outdated, inaccurate, ambiguous, or misinterpreted Nonetheless, it is my hope that
this correspondence along with supporting documentation can clear up any misunderstanding or
confusion that seems to have manifested regarding an employment status that does not exist at
my end. Thus, with unequivocal assurance, I strongly and wholeheartedly repudiate the
allegation that I am a paid full-time employee of Teaching Teens To Think (4T’s) while being an
Advanced Opportunity Program (AOP) award recipient at UWM.

As an AOP award recipient, I made a commitment to limit any outside employment to a
maximum of 10 hours per week. From 2014-2015, I' have maintained my AOP commitment to
the point that I have not been a paid employee of any company for any amount of hours per
week. lt is alleged that l am employed at 4T’s as the Senior Vice President of Administration.
The truth of the matter is that I am not employed in any capacity with 4T’s ~ I am only listed on
its website which in no way clearly indicates nor directly states that 1 am a full~time or part-time
paid employee lt must be noted that prior to my arrival at UWM in 2013, I served as a volunteer
for 4T’s During my tenure at UWM, I never worked for 4T’s - not even for 10 hours per week.

Being listed on someone’s Website and being actually employed are totally two different matters
given that fact that the website of 4T’s listed me (in the present tense) as holding the position of
Director of Career Planning at Dominican College. My professional profile on this particular
website is simply behindhand given the fact that l have not worked for Dominican College as a
fuli~time paid employee since 2010. Therefore, it is humanly impossible for me to work for 4T’s
in New York, New York for at least 40 hours per week and simultaneously work for Dominican
College in Orangeburg, New York for at least 40 hours per week and attend UWM in
Milwaukee, Wisconsin as a doctoral student Accordingly, in 2014, l was compensated for
unemployment by the New York State Department of Labor.

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Dean Marija Gajdardziska-Josifovska
August 27, 2015
Page 2

To substantiate my claim, l have enclosed the New York State Department of Labor Form
1099-G along with a notarized letter from Mr. Kayode Bentley, founder and president of 4T’s.
The New York State Department of Labor Form 1099~G confirms my unemployment status in
2014 as I did not work for 4T’s while being a recipient of the AOP award. Moreover, the letter
from Mr. Bentley verifies the fact that I never worked for 4T’s during my tenure as an AOP
award recipient lf you need additional documentation to support my claim, I can provide to you
at a later date a transcript of my 1040A U.S. Income Tax Return for 2014, which is not readily
available at the time of this correspondence

I am grateful for the AOP award and l would not jeopardize such a wonderful funding
opportunity Since 2014, as an AOP award recipient, l have been aboveboard and in compliance
with the AOP award regulations Therefore, given this unfortunate misunderstanding I am
requesting that my AOP fellowship be restored lt is my sincere hope that this unfortunate
misunderstanding does not impair my good name at UWM along With my chances of obtaining
succeeding awards or honors from UWM. lt is also my sincere hope that this unfortunate
misunderstanding does not have an adverse effect and reflect negatively on UWM’s Department
of Africology and its students Moreover, it is my sincere hope that this matter can be resolved
expeditiously as lam anticipating a favorable resolution sol can move forward not only as a
promising doctoral student, but as productive private citizen of the world.

Sincerely,

Mez%_ ,

Patrick Delices
Doctoral Student
University of Wisconsin-Milwaukce

Enclosures:

Encl. 1 - New York State Department of Labor Form 1099-6
Encl. 2 ~ Mr. Bentley’s Letter

Cc: Erin Winkler, Chair of Africology

Tracey Heatherington, Associate Dean of Graduate School
Wendy S Labinski, Assistant Dean of Graduate School

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4T’S PRODUCTIONS
Teaching Teens To Think

August 25, 2015
To Whom This May Concem,

As the founder and president of 4T’s (Teaching Teens To Think), I am verifying that from 2013
to the present, Mr. Patrick Delices has not been employed as a full time or part time hourly,
weekly, bi~weekly, monthly, or yearly paid employee with 4T’s.

Prior to 2013, Mr. Delices only served as a volunteer to my organization and after 2013, he has
not been active at 4T’s Productions given the fact that since 2013, Mr. Delices has been heavily
engage in graduate studies, academic rescarch, and study abroad activities In knowing and
understanding that Mr. Delices’ commitment is elsewhere and that his time is limited, on
extremely rare occasions, l would contact Mr. Delices for his advice or testimonials.

As evidence of Mr. Delices not being a full-time paid employee, please review the company‘s
financial statement for 2014 which can be found on 4T’s website

at http://4ts.org/reportstinances.html. As you will see, the company's financial statement for 2014
clearly indicates that the Senior Vice President title like all the other titles is an unpaid position
within 4T’s Productions.

Mr. Delices’ profile does appear on the 4T’s website because our website has not been updated
due to lack of resources as the company is currently seek a webmaster to make the necessary
updates on 4T’s website. In addition, my organization is seeking to fill the void of the Senior
Vice President post as I have yet to find a suitable replacement that can offer his of her services
on a volunteer basis. Mr. Delices’ profile is on the 4T’s website for cosmetic and marketing
purposes until we can find a replacement and properly update the company‘s website.

I express regret for not updating 4T’s website and hopefully, Mr. Delices' profile on 4T’s
website has not given you the wrong impression of Mr. Delices as l find him to be a man of great
integrity and promise With that said, please feel free to contact me at kbentley@4ts.org if you

' have any questions regarding Mr. Delices’ character and professionalism.

Kay e entley
President/Founder
Teaching Teens To Think (4T’s) Productions M.v Nmml$$f°" E>¢¥°S 1209/2017

 

590 MADISON AVENUE, 213" FL ~ NEW YORK, NY - 10022
PHONE: (212) 521*4132 ~ FAX; (212) 521-4099
WEBSITE: www.4ts.0rg

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UNIVERSITYot`WISCONSIN

U“Mll.wAuKEE Graduate School

 

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P.O. Box 340
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53201-0340
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September 2, 2015

Dear Mr. Delices,

We have received your letter and documents submitted on August 27, 2015, and appreciate your
willingness to assist us in clarifying your employment status in relation to your current Advanced
Opportunity Program (AOP) fellowship award. Your letter states that you have been consistently
aware and respectful of the terms of the award, including the requirement to limit any outside
employment to a maximum of 10 hours per week. lt also offers an explanation for the apparent
misunderstanding In keeping with our faith that our fellowship recipients represent the very best of
our institution, in terms of personal and academic integrity as well as academic promise, we are
allowing you the benefit of the doubt in this matter. lam therefore reinstating your award renewal for
the 2015-2016 year, effective immediately.

We nevertheless note that the evidence available for our assessment is not fully conclusive. Your
response indicated that the public website, <http://4ts,Qrg[patrick-delices.html>, listing your position
of Senior Vice President of Administration in the 4Ts organization in New York was simply out of
date and inaccurate. Please note that our concerns about your compliance with the requirements of
the AOP award, specifically were based not merely on the information listed by that website, but also
on information we received when we called the 4Ts organization to inquire by telephone. When our
human resources specialist spoke with Mr. Bentley, President of the 4Ts organization, on July 22"d
2015, he made clear statements that you were currently (and continuously since 2008) employed in a
full-time, year-round, paid position at 4Ts, that might often exceed 40 hours per week during the
school year. It is indeed puzzling that the same Mr. Bentley has now provided us with a notarized
statement, dated August 25, 2015, to the effect that you have never served in his organization in
anything but a volunteer capacity, and have not been active in 4Ts since 2013. Mr. Bentley has
supplied conflicting statements

We acknowledge that the 4Ts 2014 financial statement posted on the organization’s website

(hgp:[/4ts.org[reportstinances.html) appears to support your explanation that you have worked only
as a volunteerer 4Ts. However, as you yourself point out, that website contains a number of

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